                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF MISSOURI
    Emily Welcome et al

                                   Plaintiff

    v.                                            Case No. 4:22-cv-00830-RK

    Amplity Inc.

                                Defendant



         PLAINTIFFS EMILY WELCOME’S AND CHARLOTTE GRAHOVAC’S
           JOINT OPPOSTION TO AMPLITY’S MOTION FOR SUMMARY
                              JUDGMENT

         Comes now Emily Welcome (“Emily”) and Charlotte Grahovac (“Charlotte”), by and

through their attorney and pursuant to Rule 56.01 of the Federal Rules of Civil Procedure do

hereby set forth to the Court their Joint Opposition to Amplity’s Motion for Summary

Judgment.




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                           RESPONSE TO STATEMENT OF FACTS

 ¶            Amplity Statement of Fact                             Response
 1      Amplity is a New Jersey corporation       Objection to Green’s Statement (ECF 83-1)
        with its principal place of business in   as inadmissible as not complying with 28
        Langhorne, Pennsylvania.                  U.S.C. §1746. But for purposes of this
                                                  summary judgment only Admit.
 2      Amplity is a Contract Medical and         Objection to Green’s Statement as
        Commercial Organization that              inadmissible. But for purposes of this
        provides medical and commercial           summary judgment only Admit.
        solutions to its customers.
 3      Amplity builds and manages teams          Objection to Green’s Statement as
        that support its customers’ sales and     inadmissible. But for purposes of this
        marketing efforts for example,            summary judgment only Admit.
        pharmaceutical companies that are
        preparing to launch a new drug.
 4      Amplity’s contracts with its              Objection to O’Loughlin’s opinion as having
        pharmaceutical customers generally        no personal knowledge but for purposes of
        last two-plus years or more.              this summary judgment only Admit.
 51     Amplity contracts with its customers      Denied.2 Object as O’Loughlin’s statement
        dictate the number of Amplity             (Dictate the number of employees) is a legal
        employees that will work on the           conclusion. She has no personal knowledge
        customers’ behalf and whether the         as to each contract:
        individuals will work remotely or in-
                                                  Ex. A ECF 78-19 (Plaintiffs’ Motion for
        person.
                                                  Summary Judgment) (O’Loughlin
                                                  Deposition)3 p.120:12-16.
                                                  Q But you didn’t know of any client contract
                                                  that required any sales people to be
                                                  vaccinated, correct?
                                                  A Yeah. No. Again, I wasn’t focused on the
                                                  client.
                                                  O’Loughlin, p.70 21-24
                                                  “We did not review client information…that
                                                  was not the purpose of the board.”
 6      Amplity customers pay 40-50% more         Denied. Object as Green’s statement is
        for in-person promotion than it does      inadmissible as not complying with 28 U.S.C.
        for purely remote promotion.              §1746 and for all the reasons stated in the
                                                  motion to strike.
                                                  Object as “customers” and 40-50% more for in
                                                  person is vague and Green has no personal
                                                  knowledge as to each client contract.
 7      Amplity has a U.S. Colleague              Admitted that Handbook exists but objects
        Handbook and a published policy that      to the statements asserted for the truth of

1 Amplity citations to the record do not identify exhibit numbers to each paragraph assertion.

When citations were made to “Amplity” it is assumed this is Exhibit 4.
2 All denials are made for only for the purpose of Opposing Amplity’s motion for summary

judgment.
3 Amplity’s Exhibit 2 (ECF 83-2).


                                                  iii

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     states Amplity provides equal             the matter as hearsay and therefore Denies
     employment opportunities to all           that part.
     qualified individuals and administers
     all aspects and conditions of
     employment without regard to, among
     all other protected classes, religion.
8    Plaintiff Emily Welcome (“Welcome”)       For purposes of this summary judgment only
     is an adult individual, a former          Admit.
     employee of Amplity and a resident of
     Missouri.
9    Plaintiff Charlotte Grahovac              For purposes of this summary judgment only
     (“Grahovac”) 1s an adult individual, a    Admit.
     former employee of Amplity and
     resident of Illinois.
10   Welcome began her employment with         For purposes of this summary judgment only
     Amplity as a Biosimilar Account           Admit.
     Specialist on August 27, 2018
11   Grahovac began her employment with        For purposes of this summary judgment only
     Amplity as a Biosimilar Account           Admit.
     Specialist beginning on January 2,
     2020
12   Grahovac worked remotely on behalf        For purposes of this summary judgment only
     of Amplity’s customer Merck until         Admit.
     February 1, 2021, at which time she
     took a position working with
     Amplity’s customer Organon
13   Although Grahovac’s position on           Denied.
     behalf of Organon was not a remote        The citation does not support this assertion.
     position, when she began her new          Charlotte did not say it was not a remote
     position in February 2021, it was the     position. She just said at that time she was
     COVID-era, which forced her to work
                                               operating remotely. She only spoke to her
     remotely. Charlotte Grahovac Dep.
     12:3-7. The expectation was, once the
                                               expectation which was speculative.
     COVID-era restrictions were no            Objection in that it is speculation (Covid-era
     longer in place, that her position        forced her and the “expectation” was).
     would be a face-to-face role.             Charlotte has no personal knowledge to that.
                                               Object in that it is a legal conclusion with
                                               hearsay.
14   Welcome and Grahovac were both            For purposes of this summary judgment only
     assigned to Amplity’s customer            Admit
     Organon
15   In 2021, the total adjusted net           Denied. Green’s statement is inadmissible
     revenue of Amplity’s contracts with       as not complying with 28 U.S.C. §1746
     its pharmaceutical company                Objection as Amplity never produced that
     customers that included Amplity           50.3 million information in discovery even
     providing field-based colleagues such
                                               though it was specifically requested. See ECF
     as Welcome and Grahovac was $50.3
     million.
                                               83-10 (Grahovac interrogatory 7).
16   In 2021, the total adjusted net           Denied. Green’s statement is inadmissible
     revenue of the contract between           as not complying with 28 U.S.C. §1746
     Amplity and its customer Organon, to      Objection as Amplity never produced that
     which Welcome and Grahovac were           11.9 million information in discovery even
     assigned, was $11.9 million - or nearly

                                               iv

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     25% of the total revenue for that          though it was specifically requested. See ECF
     service.                                   83-10 (Grahovac interrogatory 7. O’Loughlin
                                                specifically testified that there was no
                                                economic analysis conducted by the Review
                                                Board and now, after discovery closes, Green
                                                purports to provide this information which
                                                has prejudiced plaintiffs.
17   Under its Agreement with Amplity,          Denied. Green’s statement is inadmissible
     Organon has the right to terminate         as not complying with 28 U.S.C. §1746
     the agreement under which Welcome          Objection as a legal conclusion (Green ¶7
     and Grahovac were providing services       Organon had a legal right to terminate… 120
     for its convenience by providing
                                                days’ notice).
     Amplity 120 days advance written
     notice.
                                                Object as undisclosed expert opinion
                                                testimony. Object to lack of personal
                                                knowledge and lack of foundation.
18   A material term of the Organon             Denied. Green’s statement is inadmissible
     contract is Amplity’s regular m-person     as not complying with 28 U.S.C. §1746
     engagements between its field-based        These assertions cannot be presented in a
     colleagues and the healthcare              form that would be admissible in evidence.
     practitioners and others to whom
                                                Objection as a legal conclusion (Green ¶8
     Amplity was marketing Organon’s
     products.
                                                Material term of the Organon contract).
                                                Object as undisclosed expert opinion
                                                testimony.
                                                Object to lack of personal knowledge and lack
                                                of foundation.
                                                Object as to what “colleagues” means.
19   Neither Welcome nor Grahovac has           Denied
     ever seen Amplity’s contract with          The citation does not support the assertion.
     Organon and they have no knowledge         The assertion assumes there is a contract.
     of its terms or the finances involved in   Whether there is, in fact, a contract with
     the contract.
                                                Organon, or purported finances, is not
                                                proven by Emily’s or Charlotte’s lack of
                                                knowledge. It is admitted that if there is
                                                such a contract neither Emily nor Charlotte
                                                has had it provided to them by Amplity.
20   An essential function of the Biosimilar    Denied.
     Account Specialist position is in-         Objection as “essential function” is a legal
     person engagement with Amplity’s           conclusion (defense counsel at the deposition
     customers Essential function.              objected as legal conclusion when question
                                                was asked).
                                                These assertions cannot be presented in a
                                                form that would be admissible in evidence.
                                                Objection as it is her bare assertion with no
                                                demonstration of personal knowledge as to
                                                any contract requirement.
                                                O’Loughlin does not have personal
                                                knowledge as to each client, each facility
                                                credentialing, or the contracts.

                                                v

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                                              Ex. A ECF 78-19 O’Loughlin, p.120:12-16.
                                              O’Loughlin testified the Board did not
                                              “review clients. We did not review client
                                              information…that was not the purpose of the
                                              board.”
                                              Ex. A ECF 78-19 O’Loughlin, p.70 21-24

                                              O’Loughlin admitted she had “no idea” which
                                              facilities had fully vaccinated requirement
                                              Ex. A ECF 78-19 p.153:10-15.
                                              O’Loughlin admitted the board did not
                                              analyze any specifics as to Emily’s facilities
                                              or clients.
                                              Ex. A ECF 78-19 p. 155:24:24-p.156:16
                                              Q Okay. You didn’t do any specific analysis
                                              as to any of the clients that Emily Welcome
                                              served, did you?
                                              A Not to my knowledge.
                                              Q And, in fact, do you know that most of the
                                              clients that she had when she was
                                              terminated were all virtual?
                                              Q Did you know that?
                                              A I don’t know the specifics of any of the
                                              individuals.
                                              Q So why couldn’t she have fulfilled her
                                              essential functions because she wasn’t
                                              having any personal contact with those
                                              clients because it was virtual? Why couldn’t
                                              she still have performed her essential
                                              functions, if you know?
                                              A I don’t.

                                              It is further controverted by Amplity’s job
                                              description which has percentages of remote
                                              interaction vs. in person activities. Plaintiff
                                              Ex. 1 (Sales Position Job vacancy description)
                                              (showing remote percentage not requiring
                                              face to face).

21   Prior to the COVID-19 pandemic and       Denied.
     its associated shutdowns,                Green’s statement is inadmissible as not
     engagements between Amplity’s field-     complying with 28 U.S.C. §1746
     based colleagues and the healthcare      These assertions cannot be presented in a
     practitioners and others to whom
                                              form that would be admissible in evidence.
     Amplity was marketing Organon’s
     products took place nearly exclusively
                                              Objection as Green demonstrates no personal
     face-to-face.                            knowledge about “associated shutdowns” or
                                              “healthcare practioners and others” or how
                                              he knows anything about any of the sixty


                                              vi

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                                                clients Charlotte served or the similar
                                                number Emily called on at any time.
                                                Object as vague as to what the nomenclature
                                                “Field-based colleagues” is supposed to mean.
                                                Further controverted in the job description
                                                which contemplated virtual contacts
                                                O’Loughlin p.47:7-10
                                                Q And it’s not because clients asked you to do
                                                that or told you to do that, you just thought it
                                                was a good idea, right?
                                                A We worked in -- yes. Yes. Yes.
22   Welcome and Grahovac promoted two          For purposes of this summary judgment only
     Organon products, Renflexis® and           Admit.
     Ontruzant®.
23   Renflexis is prescribed by                 For purposes of this summary judgment only
     gastroenterologists and                    Admit.
     rheumatologists to patients with
     autoimmune disorders such as
     Crohn’s disease, ulcerative colitis, and
     inflammatory bowel disease.
24   Ontruzant is prescribed by oncologists     For purposes of this summary judgment only
     and hematologists for the treatment        Admit.
     of breast cancer.
25   The Biosimilar Account Specialist          Denied.
     position required Welcome and              The citations do not support the assertion.
     Grahovac to call upon infusion             Neither testified that this “call upon” was a
     centers, doctor’s offices and hospitals    requirement.
     with infusion centers.
                                                Objection as “require” is a legal conclusion. It
                                                is further Denied to the extent “call upon” is
                                                intended to mean personal contact.
                                                It is admitted that Emily and Charlotte
                                                communicated with these facilities by
                                                various means.
                                                Plaintiffs’ Ex. 2 (Charlotte Sworn
                                                Statement); Ex. 3 (Emily Sworn Statement)
26   In addition to doctors, the sales          Denied to the extent that Emily’s
     presentations included infusion staff,     presentations are also how Charlotte makes
     nurses, patient-intake personnel, and      presentations which Emily would not have
     decision makers.                           personal knowledge of.
                                                It is also Denied that for Emily her
                                                presentations always included infusion staff,
                                                nurses, patient-intake personnel, and
                                                decision makers.
                                                What Emily testified to was that for her
                                                there was always a “decision-maker” but the
                                                other categories of people were not
                                                necessarily included in her presentations.
27   By virtue of promoting medications         Denied.
     for the treatment of rare diseases and     The citations do not support the assertion.

                                                vii

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     cancer, Plaintiffs came into contact        These assertions cannot be presented in a
     with immunocompromised patients in          form that would be admissible in evidence.
     the offices, healthcare facilities and      Objection as to lack of personal knowledge of
     infusion centers upon which they            either McAndrews or O’Loughlin as to how or
     called.
                                                 when Emily or Charlotte ever had personal
                                                 contact with patients.
                                                 In fact, the Review Board never investigated
                                                 or examined that issue regarding possible
                                                 accommodations.
                                                 Emily and Charlotte deny they ever had
                                                 personal contact with patients.
                                                 Exs. 2 & 3.
28   These calls are made in-person in           Denied. The citations do not support the
     doctor’s offices and infusion centers at    assertion
     which time Welcome and Grahovac             These assertions cannot be presented in a
     also come into contact with patients        form that would be admissible in evidence.
     and the general public.
                                                 Emily and Charlotte were not contacting
                                                 either patients or the “general public.”
                                                 See Exs.2 & 3.
29   In March 2020, COVID-19 forced              Denied.
     Amplity’s field-based employees,            The citations do not support the assertion.
     including Welcome and Grahovac, to          Objection as to the legal conclusion as to the
     work remotely because they were no          “virus” forcing anything. Facilities chose
     longer permitted to enter the hospital
                                                 various ways as to how each would react to it
     or clinical settings
                                                 and the testimony states that it was only
                                                 certain facilities that changed their policies
                                                 about personal contact as a result of the
                                                 virus.
30   In 2020, COVID-19 associated                Denied. Green’s statement is inadmissible
     shutdowns required virtually all            as not complying with 28 U.S.C. §1746
     pharmaceutical sales representatives,       These assertions cannot be presented in a
     including Amplity’s field-based             form that would be admissible in evidence.
     colleagues promoting Organon
                                                 Objection based on Green’s lack of personal
     products, to perform the
     responsibilities of their position
                                                 knowledge as to “associated shutdowns” and
     remotely. Some clients merely               “virtually all pharmaceutical sales” of all
     exercised their right to terminate          companies.”
     their contracts with Amplity and all        Objection as to hearsay and being a legal
     Amplity employees assigned to those         conclusions “exercised their right to
     projects were terminated from               terminate.”
     employment for that reason. Organon         Objection based upon hypothetical and
     instead allowed Amplity to deploy its       speculation about Organon’s rights or not
     field team on a remote basis only until     exercising this right to terminate and the
     such time as face-to-face interactions
                                                 speculation of “if Organon terminated” then
     with healthcare providers could
     resume safely. Had Organon
                                                 Amplity would have fired Emily and
     terminated its contract at that time,       Charlotte.
     Plaintiffs would have been terminated       Amplity has not provided the Court with any
     from Amplity at that time.                  contract with Organon to determine those
                                                 terms or what rights existed.

                                                viii

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                                               And Green attempts to controvert fellow
                                               board member O’Loughlin who testified the
                                               Board didn’t review clients or client
                                               information. “that was not the purpose of the
                                               board.” Ex. A ECF 78-19 O’Loughlin, p.70 21-
                                               24. p.153:10-15.
                                               O’Loughlin admitted the board did not
                                               analyze any specifics as to Emily’s facilities
                                               or clients. p. 155:24:24-p.156:16.
31   It was not until 2021 that the            Denied
     hospitals and clinics began to open to    The citation does not support the assertion.
     face-to-face interactions                 These assertions cannot be presented in a
                                               form that would be admissible in evidence.
                                               Emily did not purport to know what all
                                               hospitals and clinics in every county of every
                                               state in the nation was doing. Emily only
                                               testified as to what her knowledge was in her
                                               territory – and not even Charlotte’s Illinois
                                               territory.
32   Welcome acknowledges that a face-to-      Denied
     face interaction is more effective for    The citation do not support the assertion.
     her                                       Emily did not say she was more effective.
                                               Rather, she said “I like it” and that its
                                               “motivating.” Emily said there were
                                               customers that didn’t like face to face
                                               contact.
                                               Ex. 3.
33   In 2021, as the COVID-19 associated       Denied. Green’s statement is inadmissible
     shutdowns began to wane, Organon’s        as not complying with 28 U.S.C. §1746
     competitors were once again engaging      These assertions cannot be presented in a
     in face-to-face meetings with             form that would be admissible in evidence.
     healthcare practitioners and decision
                                               Objection as to his lack of knowledge as to
     makers. Organon made clear to
     Amplity that it expected Amplity’s
                                               “associated shutdowns” “Organon’s
     representatives representing Organon      competitors” “one again” “engaging in face to
     products to be able to also engage        face meetings with healthcare practioners
     again in-person - the service Organon     and decisionmakers”
     had purchased from Amplity in the         Objection to any foundation for all of those
     first place.                              factual assertions.
                                               Objection as to hearsay (Organon made clear
                                               that it expected…)
                                               Objection as to his legal conclusion (Organon
                                               had purchased).
34   Amplity’s failure to do so at that time   Denied. Green’s statement is inadmissible
     would not have been aligned with          as not complying with 28 U.S.C. §1746
     Organon’s stated expectations. Failing    These assertions cannot be presented in a
     to meet those expectations could have     form that would be admissible in evidence.
     caused Organon exercise its right to
                                               Objection as to hearsay (Organon’s stated
     terminate the agreement for
     convenience or to declare Amplity in
                                               expectations)

                                               ix

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     material breach of its contractual        Objection as to his legal conclusion (would
     obligations to Organon.                   not have been aligned) (failing to
                                               meet…would have caused) (Organon to
                                               exercise its right) (terminate) (or declare)
                                               (breach of material terms) (contractual
                                               obligations)
                                               Objection as lack of his knowledge
                                               speculating about all of this.
                                               It is further controverted by O’Loughlin’s
                                               testimony saying Organon – nor any client –
                                               had anything to do with the Amplity vaccine
                                               requirement. Ex. A ECF 78-19 p. 47:7-10
                                               Q And it’s not because clients asked you to do
                                               that or told you to do that, you just thought it
                                               was a good idea, right?
                                               A We worked in -- yes. Yes. Yes.
                                               O’Loughlin testified the Board didn’t review
                                               clients or client information. “that was not
                                               the purpose of the board.”
                                               Ex. A ECF 78-19 O’Loughlin, p.70 21-24.
35   ¶As a company experienced in              Denied. Green’s statement is inadmissible
     providing in-person and remote            as not complying with 28 U.S.C. §1746
     engagement promotion of                   These assertions cannot be presented in a
     pharmaceutical products, Amplity’s        form that would be admissible in evidence.
     experience is that in-person
                                               Object as to hearsay (Amplity’s experience)
     engagement is more effective than
     remote engagement, which is
                                               (supported by contemporaneous industry
     supported by contemporaneous              research) (with lack of personal knowledge
     industry research. When all               being speculative. (“company experience”
     pharmaceutical representatives were       “Amplity’s experience” “contemporaneous
     engaging remotely due to COVID-19,        industry research” “equal footing”)
     those that would otherwise have been      Object as to lack of personal knowledge on all
     in the field were on an equal footing     of the above and as to “all pharmaceutical
     with their competitor products. When      representatives” and “competitor products”
     those representing the competitor         and “went back to face to face” and products
     products went back to face-to-face
                                               at a clear disadvantage.
     promotion, those products that were
     promoted only remotely were at a
                                               Object as to it being superfluous, conclusory,
     clear disadvantage.                       and argumentative “as a company
                                               experienced” and “Amplity’s experience” and
                                               “equal footing.”
                                               Object as it purports to be an undesignated
                                               expert opinion on all of the above which
                                               Green was never designated as and is not an
                                               expert.
                                               Object to Ex. A. as it is hearsay and never
                                               produced in discovery.
36   At that time, Amplity had discussions     Denied. Green’s statement is inadmissible
     with Amplity’s customers, including       as not complying with 28 U.S.C. §1746
     Organon, in which they expressed
     their expectation that Amplity’s field-

                                               x

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     based colleagues resume face-to-face    These assertions cannot be presented in a
     meetings with healthcare                form that would be admissible in evidence.
     practitioners and decision makers as    Object as vague (at that time) (colleagues)
     agreed in the relevant contracts.       Object as hearsay (discussions and they
     Amplity customers pay 40-50% more
                                             expressed their expectation).
     for in-person promotion than they do
     for purely remote promotion.
                                             Object to the legal conclusion (as agreed and
                                             relevant contracts) (pay more for in person)
                                              along with lack of personal knowledge.

                                             It is further controverted in that O’Loughlin
                                             testified none of the client contracts had
                                             anything to do with the vaccine mandate:
                                             Ex. A ECF 78-19 O’Loughlin p.47:7-10
                                             Q And it’s not because clients asked you to do
                                             that or told you to do that, you just thought it
                                             was a good idea, right?
                                             A We worked in -- yes. Yes. Yes.

                                             O’Loughlin testified the Board didn’t review
                                             clients or client information. “that was not
                                             the purpose of the board.” O’Loughlin, p.70
                                             21-24.
37   As of December 2021, about 40 million   Denied. Salmon’s statement is inadmissible
     cases of COVID-19 had been reported.    as not complying with 28 U.S.C. §1746 and
                                             for all of the reasons set forth in the motion
                                             to exclude his report.
                                             The Review Board did not claim to rely on
                                             Dr. Salmon’s opinions in 2021
                                             His opinion which also purports to state facts
                                             is not material.
38   Among the 40 million cases of COVID-    Denied. Salmon’s statement is inadmissible
     19 reported as of December 2021,        as not complying with 28 U.S.C. §1746 and
     there were approximately 2.9 million    for all of the reasons set forth in the motion
     hospitalizations and 675,000 deaths.    to exclude his report.
                                             The Review Board did not claim to rely on
                                             Dr. Salmon’s opinions in 2021
                                             His opinion which also purports to state facts
                                             is not material.
39   Health care staff were at risk of       Denied. Salmon’s statement is inadmissible
     occupational acquired COVID-19          as not complying with 28 U.S.C. §1746 and
     through exposure to infected patients   for all of the reasons set forth in the motion
     and other health care staff. The        to exclude his report.
     Advisory Committee on Immunization
                                             The Review Board did not claim to rely on
     Practices (ACIP) of the CDC
     consequently prioritized healthcare
                                             Dr. Salmon’s opinions in 2021
     workers for vaccination.                His opinion which also purports to state facts
                                             is not material.
40   More than 3,600 healthcare workers      Denied. Salmon’s statement is inadmissible
     died of COVID-19 in the first year of   as not complying with 28 U.S.C. §1746 and
     the pandemic.

                                             xi

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                                              for all of the reasons set forth in the motion
                                              to exclude his report.
                                              The Review Board did not claim to rely on
                                              Dr. Salmon’s opinions in 2021
                                              His opinion which also purports to state facts
                                              is not material.
41   Based on the demonstrated efficacy of    Denied. Salmon’s statement is inadmissible
     the Moderna, Pfizer, and J&J COVID-      as not complying with 28 U.S.C. §1746 and
     19 vaccines in preventing disease and    for all of the reasons set forth in the motion
     reducing transmission to others (both    to exclude his report.
     by reducing the risk of infection and
                                              The citation does not support the assertion
     reducing the viral load if a
     breakthrough infection) unvaccinated
                                              that it is a current 2024 scientific fact.
     persons were at increased risk of        Objection as it also purports to state a
     contracting COVID-19 and                 current scientific fact in 2024 when the
     transmitting it to others who could      Report does not assert these conclusions are
     not be vaccinated.                       actually scientifically correct – only that this
                                              was what the world thought according to Dr.
                                              Salmon.
                                              The Review Board did not claim to rely on
                                              Dr. Salmon’s opinions in 2021
                                              His opinion which also purports to state facts
                                              that are not material.
42   Unvaccinated persons have a              Denied. Salmon’s statement is inadmissible
     potential impact on co-workers as        as not complying with 28 U.S.C. §1746 and
     unvaccinated persons are at greater      for all of the reasons set forth in the motion
     risk of contracting and spreading        to exclude his report.
     COVID-19 than vaccinated persons
                                              The citation does not support the assertion it
                                              is a current 2024 scientific fact.
                                              Objection as it also purports to state a
                                              current scientific fact in 2024 when the
                                              Report does not assert these conclusions are
                                              actually scientifically correct – only that this
                                              was what the world thought according to Dr.
                                              Salmon
43   As with coworkers, unvaccinated          Denied. Salmon’s statement is inadmissible
     persons have a potential impact on       as not complying with 28 U.S.C. §1746 and
     patients as unvaccinated persons are     for all of the reasons set forth in the motion
     at greater risk of contracting and       to exclude his report.
     spreading COVID-19 than vaccinated
                                              The citation does not support the assertion it
     persons.
                                              is a current 2024 scientific fact.
                                              Objection as it also purports to state a
                                              current scientific fact in 2024 when the
                                              Report does not assert these conclusions are
                                              actually scientifically correct – only that this
                                              was what the world thought according to Dr.
                                              Salmon
44   Often, patients are at increased risk    Denied. Salmon’s statement is inadmissible
     of serious complications and mortality   as not complying with 28 U.S.C. §1746 and
     from COVID-19, depending on their

                                              xii

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     medical conditions and age (patients      for all of the reasons set forth in the motion
     are often older and have more             to exclude his report.
     comorbidities than the general            The citation does not support the assertion it
     population). Additionally, patients       is a current 2024 scientific fact.
     and their families have a reasonable
                                               Objection as it also purports to state a
     expectation that those who are
     providing them healthcare services
                                               current scientific fact in 2024 when the
     are doing everything they can to          Report does not assert these conclusions are
     reduce the potential for the worker to    actually scientifically correct – only that this
     transmit disease to the patient,          was what the world thought according to Dr.
     particularly during a pandemic.           Salmon
45   During the pandemic, most healthcare      Denied. Salmon’s statement is inadmissible
     facilities had reduced or eliminated      as not complying with 28 U.S.C. §1746 and
     elective procedure and routine care to    for all of the reasons set forth in the motion
     use healthcare capacity for COVID-19      to exclude his report.
     and necessary procedures, and to
                                               The citation does not support the assertion it
     protect patients and healthcare
     providers. Thus, when a patient had a
                                               is a current 2024 scientific fact.
     necessary procedure, the choices of       Objection as it also purports to state a
     the patient were limited as the           current scientific fact in 2024 when the
     procedure or healthcare visit was         Report does not assert these conclusions are
     necessary and the patient was             actually scientifically correct – only that this
     dependent on the healthcare provider      was what the world thought according to Dr.
     to reduce the risk of transmitting        Salmon.
     COVID-19.                                 The Review Board did not claim to rely on
                                               Dr. Salmon’s opinions in 2021
                                               His opinion which also purports to state facts
                                               is not material.
46   Amplity serves a diverse range of         Denied. Salmon’s statement is inadmissible
     healthcare facilities and medical         as not complying with 28 U.S.C. §1746 and
     offices including those that serve        for all of the reasons set forth in the motion
     oncology practices.                       to exclude his report.
                                               Objection as there is no personal knowledge
                                               and being a vaccine doctor does not make
                                               him an expert on the overall pharmaceutical
                                               sales industry.
                                               Salmon admits he was asked not to and did
                                               not analyze any specific facilities in his
                                               report.
47   Immunocompromised persons                 Denied. Salmon’s statement is inadmissible
     (including those taking                   as not complying with 28 U.S.C. §1746 and
     immunosuppressants for cancer             for all of the reasons set forth in the motion
     treatment) are at very high risk for      to exclude his report.
     serious complications including death
                                               The citation does not support the assertion it
     from COVID-19.
     Consequently, healthcare practices
                                               is a current 2024 scientific fact.
     serving cancer patient populations        Objection as there is no personal knowledge
     needed to be extremely careful to         and being a vaccine doctor does not make
     reduce the risk of transmitting           him an expert in cancer or
     COVID-19 to their patients. Doing so      Immunocompromised patients or
     required that their staff and those       immunosuppressants.

                                              xiii

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     entering the medical offices do           Objection as it also purports to state a
     everything they can to reduce the         current scientific fact in 2024 when the
     acquisition and transmission of           Report does not assert these conclusions are
     COVID-19.                                 actually scientifically correct – only that this
                                               was what the world thought according to Dr.
                                               Salmon.
48   Immunocompromised persons                 Denied. Salmon’s statement is inadmissible
     (patients with cancer, organ              as not complying with 28 U.S.C. §1746 and
     transplant recipients, and those with     for all of the reasons set forth in the motion
     rheumatological disorders who receive     to exclude his report.
     immunosuppressant drugs) were
                                               Objection as there is no personal knowledge
     particularly vulnerable to COVID-19
     as suppression or over-activation of
                                               and being a vaccine doctor does not make
     the immune system was found in            him an expert in cancer or
     studies published early in the            Immunocompromised patients or
     pandemic (before December 2021) to        immunosuppressants.
     have more severe disease and viral
     shedding among immunocompromised          The citation does not support the assertion it
     persons.                                  is a current 2024 scientific fact.
                                               Objection as it also purports to state a
                                               current scientific fact in 2024 when the
                                               Report does not assert these conclusions are
                                               actually scientifically correct – only that this
                                               was what the world thought according to Dr.
                                               Salmon.
                                               The Review Board did not claim to rely on
                                               Dr. Salmon’s opinions in 2021
                                               His opinion which also purports to state facts
                                               is not material.
49   In addition to vaccination, alternative   Denied. Salmon’s statement is inadmissible
     infection control strategies such as      as not complying with 28 U.S.C. §1746 and
     masking, social distancing, and           for all of the reasons set forth in the motion
     testing had an impact on patients and     to exclude his report.
     coworkers. However, these strategies
                                               The citation does not support the assertion it
     had significant limitations, and the
     most effective policy to control
                                               is a current 2024 scientific fact.
     COVID-19 in healthcare settings was       Objection as it also purports to state a
     a compressive approach where              current scientific fact in 2024 when the
     strategies were combined or layered.      Report does not assert these conclusions are
                                               actually scientifically correct – only that this
                                               was what the world thought according to Dr.
                                               Salmon.
50   The use of masks in healthcare            Denied. Salmon’s statement is inadmissible
     settings to prevent COVID-19 vaccine      as not complying with 28 U.S.C. §1746 and
     was based on what was then known          for all of the reasons set forth in the motion
     regarding mask wearing in healthcare      to exclude his report.
     settings to control influenza.
                                               Objection as to his unfounded speculation as
     However, surgical masks do not work
     nearly as well as vaccinations which
                                               to what the Board knew and he has no
     is why the CDC considers influenza        knowledge as to what the world knew.
                                               Lack of foundation.

                                               xiv

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     vaccination the first and best way to      The Review Board did not claim to rely on
     prevent influenza.                         Dr. Salmon’s opinions in 2021
                                                His opinion which also purports to state facts
                                                is not material.
51   Regular testing for COVID-19 allows        Denied. Salmon’s statement is inadmissible
     for the identification of persons who      as not complying with 28 U.S.C. §1746 and
     have active disease, however, there        for all of the reasons set forth in the motion
     are limitations to this approach. First,   to exclude his report.
     as of December, 2021, available
                                                The citation does not support the assertion it
     COVID-19 tests were imperfect with
     the potential for both false positives
                                                is a current 2024 scientific fact.
     and false negatives. Additionally, by      Objection as it also purports to state a
     December, 2021, it had been well-          current scientific fact in 2024 when the
     established that people could transmit     Report does not assert these conclusions are
     COVID-19 before becoming                   actually scientifically correct – only that this
     symptomatic and among                      was what the world thought according to Dr.
     asymptomatic cases. As a                   Salmon.
     consequence, even daily COVID-19
     testing would not identify people as
     soon as they became infectious. In the
     time between when a person first
     became infectious and when the test
     was taken, there was risk that the
     person would infect others.
52   Social distancing can reduce the           Denied. Salmon’s statement is inadmissible
     transmission of COVID-19, but social       as not complying with 28 U.S.C. §1746 and
     distancing is difficult to implement       for all of the reasons set forth in the motion
     and only has limited (and poorly           to exclude his report.
     defined) effectiveness.
                                                The citation does not support the assertion it
                                                is a current 2024 scientific fact.
                                                Objection as it also purports to state a
                                                current scientific fact in 2024 when the
                                                Report does not assert these conclusions are
                                                actually scientifically correct – only that this
                                                was what the world thought according to Dr.
                                                Salmon.
53   In December of 2021, three vaccines        Denied. Salmon’s statement is inadmissible
     were available: (1) Moderna COVID-         as not complying with 28 U.S.C. §1746 and
     19 vaccine (mRNA-1273); (2) Pfizer         for all of the reasons set forth in the motion
     and BioNTech COVID-19 vaccine              to exclude his report.
     (BNT162b2); and (3) Janssen Biotech
     COVID-19 vaccine (Ad26.COV2.S).
54   Using real world data among frontline      Denied. Salmon’s statement is inadmissible
     workers between December 14, 2020          as not complying with 28 U.S.C. §1746 and
     and August 14, 2021 (Delta Wave),          for all of the reasons set forth in the motion
     full vaccination with COVID-19             to exclude his report.
     vaccines was 80% effective in
                                                The citation does not support the assertion it
     preventing COVID-19.
                                                is a current 2024 scientific fact.
                                                Objection as it also purports to state a
                                                current scientific fact in 2024 when the
                                                Report does not assert these conclusions are

                                                xv

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                                              actually scientifically correct – only that this
                                              was what the world thought according to Dr.
                                              Salmon.
55   COVID-19 vaccines are not live           Denied. Salmon’s statement is inadmissible
     vaccines and cannot cause COVID-19       as not complying with 28 U.S.C. §1746 and
     infection.                               for all of the reasons set forth in the motion
                                              to exclude his report.
                                              The citation does not support the assertion it
                                              is a current 2024 scientific fact.
                                              Objection as it also purports to state a
                                              current scientific fact in 2024 when the
                                              Report does not assert these conclusions are
                                              actually scientifically correct – only that this
                                              was what the world thought according to Dr.
                                              Salmon.
56   In 2021 there was no support that        Denied. Salmon’s statement is inadmissible
     being vaccinated against COVID-19        as not complying with 28 U.S.C. §1746 and
     could actually increase transmission.    for all of the reasons set forth in the motion
     To the contrary, by December 2021, it    to exclude his report.
     had been shown that vaccination
                                              The citation does not support the assertion it
     reduced viral shedding and
     consequently reduced the likelihood of
                                              is a current 2024 scientific fact.
     disease transmission.                    Objection as it also purports to state a
                                              current scientific fact in 2024 when the
                                              Report does not assert these conclusions are
                                              actually scientifically correct – only that this
                                              was what the world thought according to Dr.
                                              Salmon.
                                              The Review Board did not claim to rely on
                                              Dr. Salmon’s opinions in 2021
                                              His opinion which also purports to state facts
                                              is not material.
57   The Pfizer and Moderna RNA COVID-        Denied. Salmon’s statement is inadmissible
     19 vaccines produced do not use any      as not complying with 28 U.S.C. §1746 and
     fetal cell cultures to manufacture the   for all of the reasons set forth in the motion
     vaccine.                                 to exclude his report.
                                              The citation does not support the assertion it
                                              is a current 2024 scientific fact.
                                              Objection as it also purports to state a
                                              current scientific fact in 2024 when the
                                              Report does not assert these conclusions are
                                              actually scientifically correct – only that this
                                              was what the world thought according to Dr.
                                              Salmon
                                              Objection as Dr. Salmon is not qualified to
                                              opine on the development or testing of drugs.
58   Some COVID-19 vaccines used cells,       Denied. Salmon’s statement is inadmissible
     either in development or in              as not complying with 28 U.S.C. §1746 and
     manufacturing, originally isolated
     from fetal tissues derived from an

                                              xvi

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     aborted fetus. The fetal cell lines         for all of the reasons set forth in the motion
     being used to test or manufacture the       to exclude his report.
     COVID-19 vaccines are from two              The citation does not support the assertion it
     sources: (1) HEK-293: A kidney cell         is a current 2024 scientific fact.
     line that was isolated from a fetus in
                                                 Objection as it also purports to state a
     1973; and (2) PER.C6: A retinal cell
     line that was isolated from a fetus in
                                                 current scientific fact in 2024 when the
     1985.                                       Report does not assert these conclusions are
                                                 actually scientifically correct – only that this
                                                 was what the world thought according to Dr.
                                                 Salmon.
                                                 Objection as Dr. Salmon is not qualified to
                                                 opine on the development or testing of drugs.
59   In neither of these cases was an            Denied. Salmon’s statement is inadmissible
     abortion done for the purposes of           as not complying with 28 U.S.C. §1746 and
     harvesting a fetal cell line. These cell    for all of the reasons set forth in the motion
     lines are used in a vaccine and other       to exclude his report.
     drug development as well as
                                                 The citation does not support the assertion it
     manufacturing of some drugs and
     vaccines because they have been
                                                 is a current 2024 scientific fact.
     extremely well-characterized over           Objection as it also purports to state a
     many decades, providing advantages          current scientific fact in 2024 when the
     over other cell lines where less in         Report does not assert these conclusions are
     known about them. For example,              actually scientifically correct – only that this
     vaccines for varicella, rubella,            was what the world thought according to Dr.
     hepatitis A, and rabies are made by         Salmon.
     growing the viruses in fetal cells.         Objection as Dr. Salmon is not qualified to
                                                 opine on the development or testing of drugs.
60   Additionally, many common over the          Denied. Salmon’s statement is inadmissible
     counter drugs were tested on HEK-           as not complying with 28 U.S.C. §1746 and
     293 cells or derivative lines including     for all of the reasons set forth in the motion
     Tylenol/ Acetaminophen;                     to exclude his report.
     Advil/Motrin/Ibuprofen; Aspirin/
                                                 The citation does not support the assertion it
     Acety lsalicy lie Acid; Aleve/Naproxen;
     Pseudoephedrine/Sudafed;Diphenhyd
                                                 is a current 2024 scientific fact.
     ramine/Benadryl; Tums/Calcium               Objection as it also purports to state a
     Carbonate; and Pepto-                       current scientific fact in 2024 when the
     Bismol/Bismuth Subsalicylate.               Report does not assert these conclusions are
                                                 actually scientifically correct – only that this
                                                 was what the world thought according to Dr.
                                                 Salmon
                                                 Objection as Dr. Salmon is not qualified to
                                                 opine on the development or testing of drugs.
                                                 Object as the movant’s fact is not material.
61   Common prescription drugs tested on         Denied. Salmon’s statement is inadmissible
     HEK-293 cells or derivative cell lines      as not complying with 28 U.S.C. §1746 and
     include: Atorvastatin/Lipitor;              for all of the reasons set forth in the motion
     Metoprolol/Toprol XL;                       to exclude his report.
     Omeprazole/Prilosec OTC;
                                                 The citation does not support the assertion it
     Azithromycin I Zithromax;
     Albuterol/Salbutamol; and
                                                 is a current 2024 scientific fact.
     Hydroxychloroquine/Plaquenil.

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                                               Objection as it also purports to state a
                                               current scientific fact in 2024 when the
                                               Report does not assert these conclusions are
                                               actually scientifically correct – only that this
                                               was what the world thought according to Dr.
                                               Salmon
                                               Objection as Dr. Salmon is not qualified to
                                               opine on the development or testing of drugs.
62   The Centers for Disease Control and       Denied. Salmon’s statement is inadmissible
     Prevention is a federal agency within     as not complying with 28 U.S.C. §1746 and
     the Department of Health and Human        for all of the reasons set forth in the motion
     Services (HSS) and is responsible for     to exclude his report.
     protecting the health of the American
                                               The citation does not support the assertion
     public. As the premiere public health
     agency for the country and a model for
                                               that it is a current 2024 scientific fact.
     the rest of the world, the CDC has a      Objection as it also purports to state a
     long history of expertise in              current scientific fact in 2024 when the
     epidemiology and the application of       Report does not assert these conclusions are
     science to control infectious and         actually scientifically correct – only that this
     chronic diseases.                         was what the world thought according to Dr.
                                               Salmon.
                                               The Review Board did not claim to rely on
                                               Dr. Salmon’s opinions in 2021
                                               His opinion which also purports to state facts
                                               is not material.
63   Throughout the COVID-19 pandemic,         Admitted that the CDC issued guidance but
     the CDC issued guidance and               Denies that this document was necessarily
     recommendations regarding such            the guidance the Review Board actually
     things as infection prevention and        referred to.
     control practices and the benefits of
     vaccination
64   Per the CDC Interim Guideline dated       Admitted that this document says this but
     September 21, 2021, “Data from two        objects as to hearsay to the truth of the
     phase III mRNA vaccine efficacy trials    matters asserted.
     and cohort studies demonstrated up to     Denies that this document was necessarily
     95% efficacy following a two-dose
                                               the guidance the Review Board actually
     vaccination series. It is unknown
     whether infection confers a similar
                                               referred to.
     degree of immunity compared to
     vaccination.
65   Per the CDC Interim Guideline dated       Admitted that this document says this but
     October 15, 2021, “COVID-19 vaccines      objects as to hearsay to the truth of the
     are safe and effective at preventing      matters asserted.
     infection, hospitalization, and death.    Denies that this document was necessarily
     Most people who get COVID-19 are
                                               the guidance the Review Board actually
     unvaccinated.”
                                               referred to.

66   The CDC Interim Guideline dated           Admitted that this document says this but
     October 15, 2021 further stated,          objects as to hearsay to the truth of the
     “Currently approved or authorized         matters asserted.
     COVID-19 vaccines protect people

                                              xviii

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     from getting infected and severely ill,   Denies that this document was necessarily
     and significantly reduce the likelihood   the guidance the Review Board actually
     of hospitalization and death. Fully       referred to.
     vaccinated people are less likely to
     become infected and, if infected, to
     develop symptoms of COVID-19
     compared with unvaccinated people.
     Even when fully vaccinated people
     develop symptoms, they tend to be
     less severe symptoms than in
     unvaccinated people. This means they
     are much less likely to be hospitalized
     or die than people who are not
     vaccinated.”
67   In its Interim Guidance dated October     Admitted that this document says this but
     15, 2021, the CDC defined “fully          objects as to the truth of the matters asserted
     vaccinated” against COVID-19 as:          as hearsay.
     • 2 weeks after their second dose in a    Denies that this document was necessarily
     2-dose series, such as the
                                               the guidance the Review Board actually
     PfizerBioNTech or Moderna vaccines,
     or
                                               referred to.
     • 2 weeks after a single-dose vaccine,
     such as Johnson & Johnson’s Janssen
     vaccine.
68   On October 5, 2021, in a continuing       Denied.
     commitment to the health and safety       Objection to the reference to “Vaccination
     of its employees (referred to as          Policy” as defined by Amplity.
     colleagues), clients, health care         Objection as to hearsay as document is not
     providers and their patients, and in
                                               self-proving as to “Amplity” and its
     consideration of guidance released by
     the CDC, Amplity implemented its
                                               assertions “continuing commitment.”
     COVID-19 vaccination policy (the          Objection as vague as it doesn’t identify
     “Vaccination Policy”).                    which guidance from the CDC is referred to.
                                               Objection as to hearsay and lack of
                                               foundation purporting to assert as truth the
                                               reason why Amplity created its vaccine
                                               policy.
                                               Objection as it recites facts without
                                               foundation and it is not self-proving simply
                                               because things are stated on that document.
69   Amplity relied upon the CDC               Denied.
     guidance at the time in formulating       Green’s statement is inadmissible as not
     the Vaccination Policy.                   complying with 28 U.S.C. §1746
                                               (Green does not allege that he or anyone on
                                               the Review Board actually relied on
                                               anything).
                                               Objection as McAndrews was not a member
                                               of the Review Board and has no personal
                                               knowledge as she never attended any Review
                                               Board meeting. All of her information about
                                               that is from hearsay.


                                               xix

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                                            Ex. B ECF 78-20 (McAndrews) p.31:9-15
                                            Q. I’m trying to understand. You’ve seen the
                                            document. Did you have any part, then, in
                                            requiring -- this idea of requiring vaccination
                                            based on role?
                                            A. No, I did not make those decisions. That
                                            was -- I was executing on the policy. I did not
                                            make the decisions.
                                            Ex. B ECF 78-20 p.32:6-10
                                            Q. It’s maybe a good guess, I don’t know. But
                                            you actually don’t know why the 15 didn’t
                                            have to become fully vaccinated, correct?
                                            A. Correct.
                                            Ex. B ECF 78-20 p.82:21-23.
                                            McAndrews merely guessed at what she
                                            thought Amplity was doing.
                                            Ex. B ECF 78-20 p. 172:20-p.173:6
                                            Q. How do you know?
                                            A. How do I know what?
                                            Q. You just made the assertion that you
                                            think Amplity contacted all these clients and
                                            had considered all the varying expectations
                                            before they came up with their October 26th
                                            decision, that’s what you just testified to?
                                            A. I think that, yes, we were having
                                            conversations with our clients around the
                                            expectations, yes.
                                            Q. I didn’t say having some. I’m saying you
                                            assessed all their expectations by October
                                            26th, is that -- how would you know that?
                                            A. I don’t know that.

                                            Objection as a legal conclusion about the
                                            corporate mind of Amplity being hearsay.
                                            As to O’Loughlin the citation does not
                                            support the assertions. O’Loughlin can
                                            speak for herself. She doesn’t identify what
                                            guidance from CDC she referred to and she
                                            doesn’t say which one – which the assertion
                                            assumes connecting this CDC document to
                                            what O’Loughlin talked about..
70   The Vaccination Policy was             Denied. Green’s statement is inadmissible
     announced in an email to all Amplity   as not complying with 28 U.S.C. §1746
     employees on October 5, 2021.          The assertion is not supported by the
                                            citation.
                                            Objection as to the use of the nomenclature
                                            “Vaccination Policy” being the entirety of the
                                            actual policy. It was not a complete


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                                               disclosure. Amplity did not disclose its
                                               complete Policy informing the employee who
                                               requests an accommodation that the
                                               employee would automatically forfeit her
                                               position and stopped being paid without
                                               consideration of the employee’s clients,
                                               facility requirements, or accommodations a
                                               client might provide.
71   The Vaccination Policy set a              Denied.
     December 1, 2021 deadline for US          Green’s statement is inadmissible as not
     based field colleagues to either          complying with 28 U.S.C. §1746
     provide proof of vaccination or receive   The citation does not support the assertions.
     approval for an accommodation
                                               It is controverted as the Review Board set an
                                               earlier November deadline for Emily and
                                               Charlotte because they were in the Organon
                                               contract.
                                               Ex. B ECF 78-20 (McAndrews) p. 57¶22-
                                               p.58¶12;
                                               The Policy did not only apply in the same
                                               manner to “core employees.”
                                               Ex. B ECF 78-20 p. 289¶24-p.290¶24
                                               Ex. A ECF 78-19 (O’Loughlin) p.44¶3-16;
                                               p.100 ¶23-p.101¶4; p.104¶10-15; p.105¶14-
                                               18; p.107¶12-18; p.108 ¶16-23.
72   The Vaccination Policy applied to all     Admitted that the language exists on the
     “US based field colleagues” that          document but deny the truth of the matter
     “engage in healthcare facilities and/or   asserted and object as hearsay.
     client facilities to perform the duties   Further deny that this written policy is
     of their job.”
                                               complete as it was pre-determined before the
                                               policy was published that all employees who
                                               requested an accommodation would
                                               automatically lose their job and be placed on
                                               unpaid leave. That was why the Review
                                               Board did not need to vote on anything
                                               because all of the decision making had
                                               already taken place prior to any interactive
                                               process.
                                               Ex. A ECF 78-19 (O’Loughlin) p. 72: 17-
                                               p.73:17 (“There was no voting….Saying there
                                               was a vote is explicitly indicating there was
                                               an act”)
                                               That there was an additional part of this
                                               policy that was initially concealed:
                                               Ex. A ECF 78-19 (O’Loughlin) p.104¶10-15;
                                               p.105¶14-18; p.107¶12-18; p. 118¶8-15.
                                               p.135¶14-21; p.165¶4-6; p.58¶1-4; p.59¶14-
                                               24; p.60¶5-19; p.111¶11-19.



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                                               Ex. B ECF 78-20 (McAndrews) p.122¶5-7;
                                               p.197¶9-17; p.270¶15-22; p.145¶6-20;
                                               p.150¶7-11.




73   The Vaccination Policy applied only to    Denied
     Amplity employees whose essential         Object as McAndrews has no personal
     functions of their position included      knowledge.
     regular face-to-face in-person            She was not a decision maker in the Review
     engagements.
                                               Board.
                                               Ex. B ECF 78-20 p.31:9-15.
                                               She has no personal knowledge as to what
                                               the essential function of Emily or Charlotte’s
                                               particular job.
                                               Object as a legal conclusion as to “essential
                                               function.”
                                               McAndrews admitted she was guessing:
                                               Ex. B ECF 78-20 p.32:6-10:
                                               Q. Well, that – you’re just guessing there. It’s
                                               maybe a good guess, I don’t know. But you
                                               actually don’t know why the 15 didn’t have to
                                               become fully vaccinated, correct?
                                               A. Correct.
74   The Vaccination Policy did not apply      Denied
     to all Amplity employees. For             The Policy applied to all employees but not in
     example, it did not apply to employees    the same way to all employees.
     that had a 100% remote position.          Ex. B ECF 78-20 (McAndrews) p. 289¶24-
                                               p.290¶24
                                               Ex. A ECF 78-19 (O’Loughlin) p.44¶3-16;
                                               p.100 ¶23-p.101¶4; p.104¶10-15; p.105¶14-
                                               18; p.107¶12-18; p.108 ¶16-23.
75   The Vaccination Policy states,            Admitted that it states this but Deny as to
     • After December 1, 2021, colleagues      the truth of the matter asserted as hearsay.
     who have taken steps to comply with
     the policy but have not completed the
     vaccination process may have
     schedules changed or adjusted, and
     will be required to comply with



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     appropriate protocols as adopted by
     Amplity or our clients.
     • After December 1, 2021, colleagues
     who do not meet requirements of this
     policy as applicable to their role, will
     be placed on unpaid leave and their
     status will be evaluated periodically.
     The Vaccination Policy further states,      Admitted that it states this but Deny as to
     To assist any employee who has a            the truth of the matter asserted as hearsay.
     qualifying medical condition or objects
     to being vaccinated on the basis of a
     sincerely held religious belief or
     practice, we will engage in an
     interactive process to determine if a
     reasonable accommodation can be
     provided that does not create an
     undue
     hardship on our business and/or does
     not pose a direct threat to the health
     or safety of others in the workplace
     and/or to the colleague.
77   Amplity made the decision to have its       Denied.
     Vaccination Policy apply to its             The citations do not support the assertion.
     employees that were in the field and        These assertions cannot be presented in a
     engaging with our clients and               form that would be admissible in evidence.
     interacting in healthcare facilities.
                                                 Object as hearsay and a legal conclusion that
     Amplity primarily supports customers
     involved in rare diseases and
                                                 “Amplity made the decision.”
     oncology, so there would be                 O’Loughlin has no personal knowledge about
     immunocompromised individuals in            Emily or Charlotte or what facilities Emily or
     the facilities in which Amplity’s           Charlotte serviced, or their requirements.
     employees were visiting                     O’Loughlin, p. 52:21-25; p. 61:16-17 (“I don’t
                                                 recall any specifics of any particular client at
                                                 this point in time”).
                                                 It is controverted as the Review Board
                                                 applied its policy, albeit in a different
                                                 manner, to core employees who could elect to
                                                 be tested rather than be vaccine injected.
                                                 Ex. B ECF 78-20 p. 289¶24-p.290¶24
                                                 Ex. A ECF 78-19 (O’Loughlin) p.44¶3-16;
                                                 p.100 ¶23-p.101¶4; p.104¶10-15; p.105¶14-
                                                 18; p.107¶12-18; p.108 ¶16-23.
                                                 If the Review Board had investigated at all
                                                 they would have learned that Emily and
                                                 Charlotte had no contacts with patients.
                                                 Plaintiff Exs. 2 & 3 (sworn statements).
78   When creating the Vaccination Policy,       Denied.
     Amplity considered the health and           Object as lack of personal knowledge.
     safety of its employees and patients        McAndrews has no personal knowledge of
     based on CDC guidance and its               what the Review Board considered. She was
     contractual obligations to provide face


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     to-face sales engagements with             not a decision maker and did not participate
     healthcare providers                       in the Review Board meetings.
                                                Ex. B ECF 78-20 p.15:18 “not my decision”
                                                McAndrews did not know but speculated as
                                                to why the Review Board did what it did
                                                McAndrews knowledge is hearsay coming
                                                from Erica Smith.
                                                Ex. B ECF 78-20 p.16:13-19
                                                Q. And you would know why it created the
                                                vaccine policy?
                                                A. I wasn’t involved in creating the policy,
                                                but I -- it was shared to me, kind of the
                                                rationale for why we instituted the policy.
                                                Q. And who shared that with you?
                                                A. That would have been Erica Smith.
                                                And Erica Smith had no personal knowledge
                                                as she was not on the Review Board
                                                Object as hearsay (Amplity considered).
79   Welcome does not believe that the          Denied.
     Vaccination Policy was implemented         The citation does not support the assertion.
     by Amplity to rid itself of disfavored     Emily’s deposition stated “I don’t know.”
     religious employees.                       Emily stated “I know that the policy did rid
                                                itself of religious employees.”
                                                Ex. 3 (Emily statement).
80   Grahovac does not believe that             Denied.
     Amplity’s intent with the Vaccination      The citation does not support the assertion.
     Policy was to rid itself of disfavored     Charlotte is speculating on the Review
     religious employees.                       Board’s intent.
                                                Ex. C ECF 78-21 (Grahovac) p.45:10-21:
                                                A. I believe in the ultimate end anybody who
                                                went for a religious accommodation was
                                                gotten rid of so to speak from Amplity. Now,
                                                whether or not that was because we were
                                                religious, I can’t say that, but I do know that
                                                no one that had a religious accommodation
                                                was accommodated.
                                                Q. Okay. When you say no one, how would
                                                you know that? How would you know
                                                whether any religious accommodation was
                                                accommodated?
                                                A. Because I spoke with other people who
                                                also were let go from trying to have a
                                                religious accommodation.
81   Amplity relied upon the CDC                Denied.
     guidance to create its COVID-19            Object as a legal conclusion (Amplity relied
     Vaccination Policy to aid in the health    upon CDC guidance)
     and safety of its employees and            The citation does not support the assertion.
     patients
                                                No one said Amplity had patients.

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                                           It is controverted in Amplity’s EEOC Charge
                                           Response stating Emily was fired because
                                           she violated the Organon policy.
                                           ECF 78-10 (Ex. 13)
                                           ECF 78-17 (Ex. 26) (Admissions) para. 42
                                           (“Organon implemented a policy that
                                           required all Amplity field based
                                           representatives assigned to their contract to
                                           be fully vaccinated by November 24, 2021”).
                                           Green stated the Review Board enacted the
                                           Policy to be “competitive.”
                                           ECF 78-16 (Ex. 25) (Green email)
                                           Amplity’s interrogatory responses state the
                                           reason was for “competitive” reasons.
                                           Amplity
                                           ECF 83-10, p.5.
                                           Objection as to lack of personal knowledge.
                                           McAndrews has no personal knowledge.
                                           Ex. B ECF 78-20 (McAndrews) p.31:9-15.
                                           p.16:13-19
                                           O’Loughlin testified the Board didn’t review
                                           clients or client information. “that was not
                                           the purpose of the board.” Ex. A ECF 78-19
                                           (O’Loughlin) p.70:21-24.
82   Based on the CDC guidance in 2021,    Denied.
     Amplity believed that unvaccinated    The citation does not support the assertion.
     employees created a greater risk to   McAndrews does not claim this was an
     themselves or others than             “Amplity” belief or a Board belief.
     unvaccinated employees.
                                           McAndrews actually didn’t know if it was
                                           good information or if it was scientifically
                                           correct.
                                           Ex. B ECF 78-20 p.66:24-p.67-1. McAndrews
                                           in fact disavows making the vaccine policy:
                                           p.67:7-12:
                                           Q. In terms of what the thought process -- if
                                           you’re relying on bad science or
                                           misinformation, would that have mattered?
                                           Mr. Goldblum: Again, same objection. Object
                                           to the form of the question.
                                           A. I wasn’t creating policy at the time.

                                           Objection as to lack of personal knowledge.
                                           Object as to hearsay and speculation as to
                                           what “Amplity” or the Review Board believed
                                           McAndrews was not on the Review Board
                                           and has no personal knowledge.
                                           Ex. B ECF 78-20 p.31:9-15.
                                           p.16:13-19.


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83   Based on guidance from the CDC at            Denied. Green’s statement is inadmissible
     the time, including regarding the            as not complying with 28 U.S.C. §1746
     reduction of the spread of COVID-19          Objection as to vagueness (“It” in “it was
     infections, minimization of the effects      determined”).
     of the COVID-19 virus, and the use of
                                                  Objection as to foundation and personal
     FDA approved vaccines, it was
     determined that allowing Welcome
                                                  knowledge (determined by who, how, and
     and Grahovac to work unvaccinated            when?)
     in a field-based representative role         Object as to hearsay (Amplity believed)
     would place the health care advisors
     visited and their patients in the            Further controverted in ECF 83-10
     practice at risk by other                    (Interrogatory response) which provided
     immunocompromised persons were               reasons.
     present. Amplity determined that this        Further controverted in the EEOC Charge
     risk was too great and could place all       Response
     of Amplity’s customer relationships
                                                  ECF 78-10 (Ex. 13)
     and customer contracts in jeopardy. It
     was believed at that time that this
                                                  ECF 78-17 (Ex. 26) (Admissions) para. 42
     could have literally put an end to           (“Organon implemented a policy that
     Amplity’s business exposing them to          required all Amplity field based
     COVID-19                                     representatives assigned to their contract to
                                                  be fully vaccinated by November 24, 2021”).
84   Based on what was known about                Denied. Green’s statement is inadmissible
     COVID-19 at the time, Amplity was            as not complying with 28 U.S.C. §1746
     concerned that if Amplity’s employees        Objection as to hearsay (what was known)
     were spreading COVID-19, making              Object as vague as to what was known (by
     people sick or even killing people, it
                                                  who?)
     would have put Amplity and its
     clients at risk of liability for allowing
                                                  Object as speculation as to what was known
     unvaccinated representatives into            Object as speculating as to what was
     healthcare provider facilities where,        believed, whether correct or not, would
     by definition, patients with cancer          spread Covid.
     and other immunocompromised                  Object as to foundation and personal
     persons were present. Amplity                knowledge (when and how?)
     determined that this risk was too            Object as a legal conclusion and speculation
     great and could place all of Amplity’s       (Amplity concerned)
     customer relationships and customer          Object as speculating as to patients (by
     contracts in jeopardy. It was believed
                                                  definition) and whether Emily or Charlotte
     at that time that this could have
     literally put an end to Amplity’s
                                                  had any contact with patients.
     business                                     “In jeopardy” is hypothetical and speculation
                                                  and a legal conclusion.
                                                  “It was believed” is hearsay and vague.
                                                  “Put an end to Amplity’s business” is
                                                  speculation and Green has no personal
                                                  knowledge about that self-serving statement.
                                                  It is further controverted that it claimed the
                                                  real reason for vaccine mandate was to be
                                                  competitive and that Organon required
                                                  Emily and Charlotte to be vaccinated.
                                                  Ex. 83-10 (Interrogatory response) which
                                                  provided reasons.


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                                                Further controverted in the EEOC Charge
                                                Response
                                                ECF 78-10 (Ex. 13)
                                                ECF 78-17 (Ex. 26) (Admissions) para. 42
                                                (“Organon implemented a policy that
                                                required all Amplity field based
                                                representatives assigned to their contract to
                                                be fully vaccinated by November 24, 2021”).
85   For these reasons, Amplity                 Denied. Green’s statement is inadmissible
     determined that it could not allow any     as not complying with 28 U.S.C. §1746
     employees to visit doctors’ offices        Objection as legal conclusion and hearsay
     unless they were vaccinated, whether       (“Amplity determined” “Amplity sought”)
     their request for exemption from the
                                                “For these reasons” is controverted by the
     COVID-19 vaccine requirement was
     made for religious, medical, political,
                                                other stated reasons Amplity gave:
     or any other reasons. To the extent        Ex. 83-10 (Interrogatory response) which
     available, Amplity sought to place         provided reasons.
     anyone who did not want the vaccine        Further controverted in the EEOC Charge
     for any reason into purely remote          Response
     engagement roles that did not require      ECF 78-10 (Ex. 13)
     a vaccine. Unfortunately, there was        ECF 78-17 (Ex. 26) (Admissions) para. 42
     not as many of those roles available as    (“Organon implemented a policy that
     there were people who may have             required all Amplity field based
     wanted them
                                                representatives assigned to their contract to
                                                be fully vaccinated by November 24, 2021”)
                                                Lack of foundation
                                                Green stated a competitive reason. Ex. 25
                                                Object as argumentative (“unfortunately”).
86   The Policy also took into consideration    Denied. Object as McAndrews has no
     that Amplity’s contracts with its          personal knowledge about what the Review
     customers provided for face-to-face        Board considered. Her purported knowledge
     sales.                                     is all derived from hearsay – she has no
                                                personal knowledge.
                                                Ex. B ECF 78-20 p.31:9-15.
                                                p.16:13-19
                                                Ex. A ECF 78-19 (O’Loughlin), p. 52:21-25; p.
                                                61:16-17 (“I don’t recall any specifics of any
                                                particular client at this point in time”).
                                                O’Loughlin said no specific clients or
                                                facilities were considered and no specific
                                                contracts were analyzed. O’Loughlin testified
                                                the Board didn’t review clients or client
                                                information. “that was not the purpose of the
                                                board.” O’Loughlin, p.70 21-24.
87   In early 2022 more and more medical        Denied.
     offices were opening and allowing          These assertions cannot be presented in a
     face-to face meetings with doctors,        form that would be admissible in evidence.
     which are more productive than             Objection as McAndrews has no personal
     virtual meetings. Further, Amplity’s
                                                knowledge and is speculating. She has no
     competitors were having face-to-face

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     meetings, so to remain competitive          personal knowledge about any “competitors”
     and have a higher likelihood of a sale,     or any medical offices practices.
     face-to-face engagements were the           Ex. B ECF 78-20 p.31:9-15; p.16:13-19.
     preference.                                 Objection as vague and speculation as to
                                                 whose “preference” she is referring to.
                                                 Object as contains legal conclusions about
                                                 contract requirements (which she has no
                                                 personal knowledge of and is not in her job
                                                 description anyway).
                                                 Not demonstrated how McAndrews has any
                                                 personal knowledge about any of these vague
                                                 broad assertions.
                                                 Ex. B ECF 78-20 p.50:14-20.
88   Amplity was contractually obligated         Denied.
     to provide a field-based team of            These assertions cannot be presented in a
     employees its Statement of Work with        form that would be admissible in evidence.
     customers required field-based sales        Objection as a legal conclusion (Amplity was
     representatives, not remote
                                                 contractually obligated)
     representatives.
                                                 Her contract interpretation is a legal
                                                 conclusion
                                                 Objection as McAndrews has no personal
                                                 knowledge about this.
                                                 Ex. B ECF 78-20 p.50:14-20; p.31:9-15;
                                                 p.16:13-19.
                                                 Ex. A ECF 78-19 (O’Loughlin), p. 52:21-25; p.
                                                 61:16-17 (“I don’t recall any specifics of any
                                                 particular client at this point in time”).
                                                 O’Loughlin testified the Board didn’t review
                                                 clients or client information. “that was not
                                                 the purpose of the board.” O’Loughlin, p.70
                                                 21-24.
89   Amplity’s contracts with customers          Denied.
     required it to provide field-based          These assertions cannot be presented in a
     employees to have in-person meetings        form that would be admissible in evidence.
     and hospital systems, health systems        Objection as a legal conclusion (Amplity’s
     and oncology centers required
                                                 contracts with customers required it to
     vaccination in order to enter those
     locations.
                                                 provide).
                                                 McAndrews does not have personal
                                                 knowledge as to all of Amplity’s contracts
                                                 and even if she did she is not an expert and
                                                 her contract interpretations are speculation
                                                 and legal conclusions.
                                                 Ex. B ECF 78-20 p.50:14-20; p.31:9-15;
                                                 p.16:13-19.
                                                 Ex. A ECF 78-19 (O’Loughlin), p. 52:21-25; p.
                                                 61:16-17 (“I don’t recall any specifics of any
                                                 particular client at this point in time”).



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90   Organon required Amplity field-based      Denied.
     colleagues representing their products    The citation does not support the assertion.
     to be to be vaccinated by November        These assertions cannot be presented in a
     24, 2021                                  form that would be admissible in evidence.
                                               There is no Amplity 61-62 (Ex. 4) (ends at 62
                                               starts 131).
                                               Objection as hearsay and a legal conclusion
                                               (“Organon required”)
                                               McAndrews has no personal knowledge of
                                               this.
                                               Ex. B ECF 78-20 p.59:9-12; p.50:14-20;
                                               p.31:9-15; p.16:13-19.
                                               The citation to Grahovac deposition 42:22-
                                               43:2 is hearsay. She has no personal
                                               knowledge and heard it “communicated to
                                               you” which is hearsay (she said she doesn’t
                                               know). Neither Emily nor Charlotte had any
                                               direct communications with Organon in
                                               which to have any knowledge. Exs. 2 & 3.
                                               As to the citation to Emily, she said she
                                               didn’t know.
                                               ECF 78-22 (Welcome) p.101:25-102:10.
                                               Oloughlin directly controverts this assertion:
                                               Ex. A ECF 78-19 p. 47:7-10
                                               Q And it’s not because clients asked you to do
                                               that or told you to do that, you just thought it
                                               was a good idea, right?
                                               A We worked in -- yes. Yes. Yes.
91   Allowing Welcome and Grahovac to          Denied. Green’s statement is inadmissible
     work in their positions unvaccinated      as not complying with 28 U.S.C. §1746
     put the Organon contract at risk
     because Organon required its              Object as a legal conclusion (“put the
     employees and representatives to be
                                               Organon contract at risk because Organon
     vaccinated and was expecting Amplity
     employees representing Organon
                                               required” “was expecting Amplity
     products be vaccinated                    employees”).
     as well.                                  Object as hearsay and the lack of personal
                                               knowledge.
                                               In fact, the Review Board never contacted
                                               Organon to ascertain what its position was,
                                               there is no evidence that Organon ever
                                               threatened a breach
                                               McAndrews admitted this to Charlotte
                                               “I know of one client that – and it wasn’t
                                               Organon – that we want vaccinated people
                                               on the contract.. if you’re not able to provide
                                               that then we’re going to pull the contract.
                                               But I did hear about accommodating one
                                               person even in that contract.”:


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                                                   Plaintiffs’ Ex. 3 (Charlotte statement)
92   Karen McAndrews is the Director of            Admitted
     Human Resources Business Partner
     Team
93   Per Becky O’Loughlin, Amplity’s               Denied.
     former Chief People Officer, the              Object as legal argument that the “Vaccine
     Vaccination Policy required                   Policy” emphasized or prioritized these
     vaccinations for Amplity field based          things.
     employees, particularly those that
                                                   Object as containing hearsay statements.
     could come in contact with
     immunocompromised individuals, “We
                                                   Object as lacking personal knowledge as
     made the decision of our COVID                O’Loughlin had no personal knowledge as to
     vaccination for those that were going         any of Emily’s or Charlotte’s facilities. Ex. A
     to be engaging in the field with our          ECF 78-19 p. 52:21-25; p. 61:16-17 (“I don’t
     clients interacting in healthcare             recall any specifics of any particular client at
     facilities, interacting -- we primarily       this point in time”).
     support rare disease and oncology so          O’Loughlin testified the Board didn’t review
     there would be immunocompromised,             clients or client information. “that was not
     could be immunocompromised                    the purpose of the board.” O’Loughlin, p.70
     individuals that would be in these
                                                   21-24.
     facilities that we would be in and out
     of.”
                                                   Emily and Charlotte were never in contact
                                                   with patients. Exs. 2 & 3.
                                                   It is further controverted because Amplity
                                                   gave different reasons for its vaccine policy:
                                                   ECF 83-10 (Interrogatory response) which
                                                   provided reasons.
                                                   Further controverted in the EEOC Charge
                                                   Response
                                                   ECF 78-10 (Ex. 13) (Charge Response)
                                                   ECF 78-17 (Ex. 26) (Admissions) para. 42
                                                   (“Organon implemented a policy that
                                                   required all Amplity field based
                                                   representatives assigned to their contract to
                                                   be fully vaccinated by November 24, 2021”)
                                                   Lack of foundation
                                                   Green stated a competitive reason. Ex. 25.
94   Amplity decided its Vaccination Policy        Denied.
     required vaccinations for anyone that         Object as lack of personal knowledge.
     was going to be in and out of client          McAndrews has no personal knowledge of
     facilities, healthcare facilities, doctors’   what the Review Board considered. She was
     offices
                                                   not a decision maker and did not participate
                                                   in the Review Board meetings.
                                                   Ex. B ECF 78-20
                                                   p.15:18 “not my decision”
                                                   McAndrews did not know but speculated as
                                                   to why the Review Board did what it did
                                                   McAndrews knowledge is hearsay coming
                                                   from Erica Smith.
                                                   Ex. B ECF 78-20
                                                   p.16:13-19.

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                                             Q. And you would know why it created the
                                             vaccine policy?
                                             A. I wasn’t involved in creating the policy,
                                             but I -- it was shared to me, kind of the
                                             rationale for why we instituted the policy.
                                             Q. And who shared that with you?
                                             A. That would have been Erica Smith.
                                             And Erica Smith had no personal knowledge
                                             as she was not on the Review Board.
95   If a field-based employee did not       Denied.
     comply with the Vaccination Policy,     Object as to the legal conclusion (Amplity
     Amplity would attempt to                would attempt)
     accommodate them in a remote role       The Review Board never attempted to
     where no vaccination was necessary
                                             accommodate Emily or Charlotte as it was
                                             predetermined they would lose their jobs, be
                                             placed on unpaid leave and then were offered
                                             remote positions that required vaccinations
                                             or that would pay about ½ of their salary.
                                             Ex. A ECF 78-19 (O’Loughlin), p.104¶10-15;
                                             p.105¶14-18; p.107¶12-18; p. 118¶8-15.
                                             O’Loughlin p.135¶14-21; p.165¶4-6; p.58¶1-
                                             4; p.59¶14-24; p.60¶5-19; p.111¶11-19.
                                             Ex. B ECF 78-20 (McAndrews) p.122¶5-7;
                                             p.197¶9-17; p.270¶15-22; p.145¶6-20;
                                             p.150¶7-11.
                                             Exs. 2 & 3
96   Amplity’s Vaccination Policy was        Denied.
     consistent with other companies in      These assertions cannot be presented in a
     the industry. Following their           form that would be admissible in evidence.
     termination, both Welcome and           Objection as “consistent” is a legal
     Grahovac were hindered in their
                                             conclusion.
     attempts to secure new employment
     because the companies to which they
                                             The citations do not support the assertion
     were applying had a COVID-19            Neither Emily nor Charlotte purport to be
     vaccination requirement similar to      experts about all other companies in the
     Amplity                                 industry.
                                             Their experience was limited and eventually
                                             became employed by companies that did not
                                             require vaccinations.
                                             Welcome p. 128:16-18 (employed by AbbVie)
                                             Grahovac p.80:19-23 (employed by TerSera
                                             Therapeutics)
                                             Object as to speculation as to “other
                                             companies in the industry” which is not
                                             supported from the citation.
97   Amplity had an Exemption Review         Denied.
     Board that reviewed all requests for    Green’s statement is inadmissible as not
     exemptions from the Vaccination         complying with 28 U.S.C. §1746
     Policy. The Exemption Review Board
     was comprised of Becky O’Loughlin

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     (former Chief People Officer), Eric        Objection as the interrogatories are hearsay
     Green (General Counsel) and Torben         and inadmissible.
     Colberg (former Chief Medical Officer)     Object as to lack of personal knowledge by
                                                McAndrews. She has no personal knowledge
                                                of what the Review Board considered and
                                                received her information from Erica Smith
                                                who purportedly received it from the Review
                                                Board. McAndrews, p.59:9-12; McAndrews
                                                p.50:14-20; p.31:9-15; p.16:13-19.
                                                It is further controverted that the Review
                                                Board actually reviewed any requests as it
                                                made all of its decision prior to the policy
                                                being published – that all requesting
                                                employees would lose their job and be placed
                                                on unpaid leave. There was no decisions to
                                                be made and why no vote was ever taken
                                                later.
                                                Ex. A ECF 78-19 (O’Loughlin) p. 72: 17-
                                                p.73:17 (“There was no voting….Saying there
                                                was a vote is explicitly indicating there was
                                                an act”).
98   Consequently, the Exemption Review         Denied.
     Board brought to it significant            Objection as the response to interrogatories
     experience, training and education in      is hearsay and inadmissible.
     medicine, law and human resources.         Objection as to the legal and argumentative
     Each of these trained professionals
                                                conclusions (significant experience, training
     were senior executives of the company
     that brought their respective
                                                and education) (trained professionals)
     knowledge, background, experience,         (respective knowledge background
     training, education and common sense       experience training education and common
     to the Exemption Review Board,             sense).
     which qualified it to consider requests    Objection as to the interrogatory answer’s
     for exemptions from the Vaccination        personal knowledge of all of these things.
     Policy.
99   The Exemption Review Board met             Denied. Objection as to hearsay. The
     periodically to discuss employees’         Interrogatories do not demonstrate personal
     requests for exemption from the            knowledge and are inadmissible.
     Vaccination Policy. At such meetings,      There were no decisions made on specific
     each request was reviewed, discussed
                                                facts
     and a determination regarding the
     exemption was made, based upon the
                                                The decision was predetermined and a one-
     specific facts and information relevant    size fits all. There was never any case by
     to the request for exemption provided      case analysis.
     by the employee                            Ex. A ECF 78-19 (O’Loughlin), p.104¶10-15;
                                                p.105¶14-18; p.107¶12-18; p. 118¶8-15.
                                                O’Loughlin p.135¶14-21; p.165¶4-6; p.58¶1-
                                                4; p.59¶14-24; p.60¶5-19; p.111¶11-19.
                                                Ex. B ECF 78-20 (McAndrews) p.122¶5-7;
                                                p.197¶9-17; p.270¶15-22; p.145¶6-20;
                                                p.150¶7-11.


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                                                   There was no decisions to be made and why
                                                   no vote was ever taken later.
                                                   Ex. A ECF 78-19 (O’Loughlin) p. 72: 17-
                                                   p.73:17 (“There was no voting….Saying there
                                                   was a vote is explicitly indicating there was
                                                   an act”)
100   The Exemption Review Board                   Denied. Green’s statement is inadmissible
      engaged in discussions pursuant to           as not complying with 28 U.S.C. §1746
      which it made the determination
      regarding what employees posed a             Objection as to “it made a determination” is
      direct threat to the health or safety of
                                                   hearsay
      others in the workplace and/or
      determined whether a reasonable
                                                   It is further denied that the Review Board
      accommodation could be made                  engaged in any contemporaneous hardship
      without undue hardship to Amplity.           analysis as it was already pre-determined,
      This process was followed for all            before any request, that upon a request for
      employees’ requests for exemption            an accommodation the employee would
      from the Vaccination Policy, whether         forfeit her job, and then be placed on unpaid
      medical, religious or otherwise.             leave status.
                                                   It was all predetermined and the Review
                                                   Board did not consider or otherwise engage
                                                   in any discussions that required any decision
                                                   as everything was set in stone
                                                   O’Loughlin p. 72: 17-p.73:17 (“There was no
                                                   voting….Saying there was a vote is explicitly
                                                   indicating there was an act”).
                                                   O’Loughlin, p.104¶10-15; p.105¶14-18;
                                                   p.107¶12-18; p. 118¶8-15.
                                                   O’Loughlin p.135¶14-21; p.165¶4-6; p.58¶1-
                                                   4; p.59¶14-24; p.60¶5-19; p.111¶11-19.
                                                   McAndrews p.122¶5-7; p.197¶9-17;
                                                   p.270¶15-22; p.145¶6-20; p.150¶7-11.
101   Further, the Exemption Review Board          Denied.
      considered the information and               Denied. Green’s statement is inadmissible
      guidance that was issued by the CDC          as not complying with 28 U.S.C. §1746
      including but not limited to regarding       Object as the interrogatory responses are
      the reduction of the spread of COVID-
                                                   hearsay and inadmissible.
      19 infections, minimization of the
      effects of the COVID-19 virus, and the
                                                   Object to the vague language “included but
      use of FDA approved vaccines.                not limited to.”
102   The Exemption Review Board’s                 Denied.
      determination was communicated to            Object as hearsay as to the interrogatory
      human resources personnel, which             responses for the reasons set forth in the
      then communicated the determination          motion to strike.
      to the employee. If supplemental
      information or documents were
      provided by an employee, such
                                                   Object as vague to the language
      information or documents was also            “determination was communicated to human
      provided to the Exemption Review             resources personnel” and also as hearsay,
      Board for consideration. This process        and “communicated to the employee” as
      was followed for all employees’              double hearsay.

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      requests for exemption from the         Object as it is speculative and lacks personal
      Vaccination Policy, including Welcome   knowledge (“if information was provided”).
      and Grahovac                            There was no interactive process and no
                                              decision making after the vaccine mandate
                                              was published.
                                              Ex. A ECF 78-19 (O’Loughlin) p. 72: 17-
                                              p.73:17 (“There was no voting….Saying there
                                              was a vote is explicitly indicating there was
                                              an act”).
103   The ERB did not engage in.an            Denied.
      evaluation of the sincerity of an       Objection as vague to the term “ERB” which
      employee’s sincerely held religious     is unknown.
      belief.                                 It is controverted as McAndrews sent both
                                              requests of Emily and Charlotte were denied
                                              because McAndrews said the Board did not
                                              believe either met the sincere religious belief
                                              criteria.
                                              McAndrews emailed Emily on November 22,
                                              2021, specifically stating
                                              “To be eligible for an exception, you must
                                              first establish that your refusal to be
                                              vaccinated is based upon a sincere belief that
                                              is religious in nature. At this 􀆟me, the
                                              Exemption Review Board does not believe
                                              this criteria was met.” ECF 78-15 (Ex.
                                              24)(Emily’s denial); ECF 78-9 (Ex.
                                              12)(Charlotte denial).
                                              McAndrews communicated the identical
                                              message to Ms. Isensee who was also a Field
                                              Base Sales person assigned to the Organon
                                              contract. ECF 78-8 (Ex. 11) (Isensee email
                                              from McAndrews); ECF 78-5 (Ex.6)
                                              (McAndrews deposition in Isensee). p.33¶15-
                                              p.34 ¶22. According to McAndrews, the
                                              Review Board rejected Emily’s and
                                              Charlotte’s initial religious accommodation
                                              request stating it did not satisfy and more
                                              information was needed to “close this gap.”
                                              Ex. B ECF 78-20 (McAndrews) p.134¶13-18.
104   The sincerity of Welcome and            Denied.
      Grahovac’s religious beliefs was no     McAndrews emailed Emily on November 22,
      factor whatsoever in the decision       2021, specifically stating
      regarding their request for an          “To be eligible for an exception, you must
      accommodation from the Vaccination
                                              first establish that your refusal to be
      Policy.
                                              vaccinated is based upon a sincere belief that
                                              is religious in nature. At this time, the
                                              Exemption Review Board does not believe
                                              this criteria was met.”


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                                                ECF 78-15 (Ex. 24)(Emily’s denial);
                                                ECF 78-9 (Ex. 12)(Charlotte denial)
                                                McAndrews communicated the identical
                                                message to Ms. Isensee who was also a Field
                                                Base Sales person assigned to the Organon
                                                contract. ECF 78-8 (Ex. 11) (Isensee email
                                                from McAndrews); ECF 78-5 (Ex.6)
                                                (McAndrews deposition in Isensee). p.33¶15-
                                                p.34 ¶22. According to McAndrews, the
                                                Review Board rejected Emily’s and
                                                Charlotte’s initial religious accommodation
                                                request stating it did not satisfy and more
                                                information was needed to “close this gap.”
                                                Ex. B ECF 78-20 (McAndrews) p.134¶13-18;
105   Amplity attempted to find an              Denied.
      alternative position for every Amplity    Object as vague as to “alternative position.”
      employee that sought a request for an     It is controverted as at no time did the
      accommodation from the Vaccination        Review Board consider offering Emily or
      Policy. This was done whether the
                                                Charlotte a position with similar salary and
      request was based upon religious or
      medical reasons.
                                                benefits while remaining true to their
                                                religious convictions regarding not
                                                consenting to the covid-19 vaccine injections.
                                                This assertion is also admits that once the
                                                employee made a request, she would
                                                automatically lose her position and be placed
                                                on unpaid leave – with the Review Board
                                                needing no further decision making process.
                                                O’Loughlin admitted that offering Emily or
                                                Charlotte a position that still required
                                                vaccination was not an accommodation.
                                                The Review Board determined that it was a
                                                reasonable accommodation for the employee’s
                                                salaried position to be forfeited, then be
                                                placed on unpaid leave, then have the
                                                employee wait for a 100% remote position
                                                that paid $40,000 less than the Field Based
                                                salary.
                                                Ex. B ECF 78-20 p.190 ¶4-23; p.195 ¶8-16
                                                Ex. A ECF 78-19 (O’Loughlin) p.149:5-12. (“It
                                                doesn’t sound like an accommodation”).
                                                p.150:3-14 (“It’s not an accommodation… It’s
                                                not a reasonable accommodation”).
106   Amplity employees, including              Denied.
      Welcome and Grahovac, were                McAndrews said that the fully vaccinated
      terminated for not following Amplity’s    requirement put upon Emily and Charlotte
      Vaccination Policy, not because they      was because Organon required it.
      didn’t follow the vaccination policies
                                                Ex. B ECF 78-20 p.57¶22-p.58¶12;
      of Amplity’s customers.



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                                                 ECF 78-15 (Ex. 24)(Emily’s denial).
                                                 McAndrews said as of “November 24,
                                                 Organon requires vaccination of Amplity
                                                 employees.” Ex. 24.
                                                 ECF 78-10 (Ex. 13)(charge response)
                                                 ECF 78-17 (Ex. 26) (Admissions) para. 42
                                                 (“Organon implemented a policy that
                                                 required all Amplity field based
                                                 representatives assigned to their contract to
                                                 be fully vaccinated by November 24, 2021”)
107   The Exemption Review Board                 Denied. The Review Board had already pre-
      reviewed applications to understand        determined what the consequences to every
      who was requesting accommodations,         employee requesting an accommodation.
      did they complete the request              There were no decisions left for the Board to
      consistently, did the company have
                                                 make and they never voted – or had the need
      anything for the employee to consider
      as an accommodation through
                                                 to vote
      identification of remote opportunities.    O’Loughlin p. 72: 17-p.73:17 (“There was no
                                                 voting….Saying there was a vote is explicitly
                                                 indicating there was an act”)
                                                 The Review Board predetermined, before any
                                                 request and any interactive process, what
                                                 would be the consequence to every employee
                                                 requesting an accommodation which would
                                                 be the forfeiture of their position and
                                                 placement on unpaid leave.
                                                 Ex. A ECF 78-19 (O’Loughlin), p.104¶10-15;
                                                 p.105¶14-18; p.107¶12-18; p. 118¶8-15.
                                                 O’Loughlin p.135¶14-21; p.165¶4-6; p.58¶1-
                                                 4; p.59¶14-24; p.60¶5-19; p.111¶11-19.
                                                 Ex. B ECF 78-20 (McAndrews) p.122¶5-7;
                                                 p.197¶9-17; p.270¶15-22; p.145¶6-20;
                                                 p.150¶7-11.
108   Grahovac submitted her request for a       Admit
      religious exemption to the Vaccination
      Policy on October 28, 2021.
109   Welcome submitted her request for a        Denied that Amplity 131 is Emily’s request.
      religious exemption to the Vaccination     The actual request was attached but is
      Policy on November 8, 2021.                omitted in Amplity 131.
110   On November 23, 2021, Welcome              Denied that this was “in support” as the
      submitted additional information in        information was submitted after her request
      support of her exemption request.          had been denied.
                                                 McAndrews emailed Emily on November 22,
                                                 2021, specifically stating
                                                 “To be eligible for an exception, you must
                                                 first establish that your refusal to be
                                                 vaccinated is based upon a sincere belief that
                                                 is religious in nature. At this time, the
                                                 Exemption Review Board does not believe


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                                                 this criteria was met.” ECF 78-15 (Ex.
                                                 24)(Emily’s denial).
111   On November 12, 2021, Grahovac was         Denied. There is no Amplity 376 (ends 258 -
      informed that Amplity was not able to      starts 379).
      provide her with a reasonable              Object as vague (was informed) (by who or
      accommodation in her role as               when?).
      Biosimilar Account Specialist.
                                                 Object to “reasonable accommodation” as
                                                 argumentative and a legal conclusion.
112   In the November 12, 2021                   Denied.
      correspondence to Grahovac, Amplity        There is no Amplity 151 (ends 131 and starts
      stated:                                    195).
      • The Biosimilar Account Specialist        Object to “Amplity stated” is a legal
      role requires regular in-person
                                                 conclusion and hearsay.
      engagements with HCPs in medical
      offices and facilities to
                                                 Object as hearsay and a legal conclusion as
      successfully perform in the job.           to “Organon requires vaccination of Amplity
      Engaging in these interactions             employees.”
      unvaccinated and on behalf of the          Object as to lack of personal knowledge.
      company puts you and the                   On the one hand Amplity says it didn’t know
      company at great risk.                     whether Organon instituted a vaccine policy
      • Targets in the role’s territory          applicable to Organon employees.
      require vaccination now or will            In response to the statement “Organon
      require in the near future to access.      instituted a policy requiring its employees to
      These in-person visits are the primary
                                                 be “fully vaccinated” by November 24, 2021,”
      mission of the company, and to avoid
      those visits would change the
                                                 Amplity stated it was unknown.
      fundamental nature of the company          ECF 78-17 (Ex. 26) ¶41
      and its services - leading to an           In response to the statement “Organon’s
      undue hardship on Amplity.                 Covid 19 vaccination policy did not include
      • In addition, effective November 24,      third parties such as Emily Welcome”
      Organon requires vaccination of            Amplity stated it was unknown whether
      Amplity employees representing their       Organon’s formal vaccination policy included
      product before calling on health care      third-parties such as Ms. Welcome.” Ex. 26,
      facilities and physicians’ offices.        ¶42.
113   On November 22, 2021, Welcome was          Denied. There is no Amplity 151
      informed that Amplity was not able to      Object as argumentative and a legal
      provide her a reasonable                   conclusion regarding “reasonable
      accommodation in her role as               accommodation”
      Biosimilar Account Specialist.
                                                 Object as hearsay and speculation.
114   In the November 22, 2021                   Denied. There is no Amplity 151
      correspondence to Welcome, Amplity         Object as it is hearsay as to the truth of the
      stated:                                    matter asserted and speculation.
      • The Biosimilar Account Specialist        Object as to a lack of foundation for the
      role requires regular in-person
                                                 speculative assertions about “targets” which
      engagements with HCPs in medical
      offices and facilities to successfully
                                                 is also vague.
      perform in the job. Engaging in these
      interactions unvaccinated and on
      behalf of the company puts you and
      the company at great risk.



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      • Targets in the role’s territory
      require vaccination now or will
      require in the near future to access.
      These in-person visits are the primary
      mission of the company, and to avoid
      those visits would change the
      fundamental nature of the company
      and its services - leading to an undue
      hardship on Amplity.
      • In addition, effective November 24,
      Organon requires vaccination of
      Amplity employees representing their
      product before calling on health care
      facilities and physicians’ offices.
115   On or about November 22, 2021,           Denied
      Grahovac informed Karen McAndrews        The citation does not support the assertion.
      that she intended to get vaccinated,     Ms. Grahovac did not state she intended to
      and then subsequently informed Ms.       get vaccinated. She stated she was conflicted
      McAndrews that she had changed her
                                               about whether to make that decision at all:
      mind
                                               I talked to Karen McAndrews at some point.
                                               It could have been November 22nd because it
                                               was nearing Thanksgiving time. And we had
                                               a conversation with a lot tears and a lot
                                               anguish from me because I didn’t want to get
                                               a vaccine. That’s why I asked for a religious
                                               exemption because I didn’t want it in my
                                               body. I didn’t believe in it, and I was being
                                               forced to choose between my job and my
                                               relationship with God and what I truly
                                               believe in my heart. So, yes, very conflicting,
                                               very difficult. But being the sole bread
                                               winner at the moment in my family, I needed
                                               to make a decision about what I was going to
                                               do.
                                               Q. And then ultimately, as you explained a
                                               few minutes ago, you ended up getting some
                                               type of respiratory ailment. And then at
                                               some point did you then notify Ms.
                                               McAndrews that you were not going to get
                                               vaccinated?
                                               A. We touched base. We had other
                                               conversations and I told her I’m not going to
                                               do this.
116   Grahovac is not aware of any Amplity     Denied
      field-based employees that were          Object as vague as to who is doing the
      permitted to remain in their position    permitting and whether “colleagues” only
      unvaccinated                             means Amplity employees.
                                               It is controverted as Charlotte said she was
                                               aware of Organon permitting employees to
                                               remain in their positions.

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                                                  ECF 78-21 (Grahovac) p.78:19-p.79:5
                                                   Q. You’re not aware of any US field-based
                                                  colleagues that were permitted to remain
                                                  employed by Amplity unvaccinated, are you?
                                                  A. Only through Organon, not Amplity
                                                  employees.
                                                  Q. And that was whether or not they asked
                                                  for religious exemption, right?
                                                  A. No. No. It was people that had asked for
                                                  religious exemptions through Organon
                                                  because they were an employee of Organon.
                                                  They were granted the opportunity to either
                                                  test or do whatever they needed to do in
                                                  order to keep their job.
117   Amplity took active steps to locate         Denied.
      fully-remote positions for Plaintiffs as    Nothing is the email chain refers to
      a way to accommodate their requests         Charlotte.
      for exemption from the Vaccination          Object to “active steps” and “as a way to
      Policy.
                                                  accommodate” is argumentative and a legal
                                                  conclusion.
                                                  The cited email chains between Blackwell
                                                  Feola and McAndrews are objected to as
                                                  hearsay.
                                                  It is further controverted as the only located
                                                  position had the same vaccine requirement
                                                  paying $40,000 less to Emily.
                                                  Ex. B ECF 78-20 p.190 ¶4-23; p.195 ¶8-16
                                                  Ex. A ECF 78-19 (O’Loughlin) p.149:5-12. (“It
                                                  doesn’t sound like an accommodation”).
                                                  p.150:3-14 (“It’s not an accommodation… It’s
                                                  not a reasonable accommodation”).
118   Further, for Amplity positions that         Denied.
      were primarily remote, but had an           The citation does not support the assertion.
      occasional in-person training or            McAndrews referred to 100% remotes that
      meeting, Plaintiffs could have been         required vaccination but did not remember
      granted an accommodation that would
                                                  specifically whether any remotes were
      allow them to not attend that meeting
      or be accommodated in another way.
                                                  offered that did not require vaccinations.
                                                  Object as lack of personal knowledge and
                                                  speculation as to what McAndrews was
                                                  predicting. She was not a decisionmaker on
                                                  the Review Board.
                                                  Ex. B ECF 78-20 p.31:9-15.
119   Welcome rejected the alternative            Denied.
      positions that were presented to her        Object as argumentative to “the alternative
      by Amplity because, as remote               positions” There were no plural “positions”
      positions, they paid less than a field-     offered to Emily and the one that did not
      based representative position.
                                                  require vaccination and paid half of her
                                                  salary.

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                                                Ex. B ECF 78-20 p.190 ¶4-23; p.195 ¶8-16
                                                Ex. A ECF 78-19 (O’Loughlin) p.149:5-12. (“It
                                                doesn’t sound like an accommodation”).
                                                p.150:3-14 (“It’s not an accommodation… It’s
                                                not a reasonable accommodation”).
120   After her termination, Grahovac was       Admit
      contacted by Amplity and asked to
      interview for a position with a
      different Amplity customer (not
      Organon), and she had two separate
      interviews, but did not get the
      position.
121   Amplity believed that allowing field-     There was an Interrogatory 8 response but
      based employees, including Welcome        for purposes of Amplity’s attempted
      and Grahovac, to engage in face-to-       affirmative use of it, the Interrogatory
      face interactions unvaccinated created    responses are inadmissible hearsay as set
      an undue hardship for Amplity, which
                                                out in the motion to strike.
      included the following:
      • If Amplity’s employees were
                                                These assertions cannot be presented in a
      spreading COVID-19, making people         form that would be admissible in evidence.
      sick or even killing people, it put at    Object as hearsay to the truth of the matters
      risk all of Amplity’ s customer           asserted with its legal conclusions and
      relationships and customer contracts.     therefore it is Denied for purposes of this
      This could have literally put an end to   summary judgment motion only.
      Amplity’s business.
      • Allowing Welcome and Grahovac to
      work in their positions unvaccinated
      put the Organon contract at risk.
      Organon required its employees and
      representatives to be vaccinated.
      • Amplity’s contracts (including the
      Organon contract) requires face-to-
      face meetings. Failing to do so put the
      Organon contract at risk.
      • Organon’s competitors were again
      having face-to-face meetings at that
      time. Amplity representatives like
      Plaintiffs not doing so would put
      Organon at a competitive
      disadvantage to its competitors and
      lead to Organon’ s dissatisfaction with
      the service being provided by Amplity.
      • Based on the CDC guidance at that
      time, including regarding the
      reduction of the spread of COVID-19
      infections, minimization of the effects
      of the COVID-19 virus, and the use of
      FDA approved vaccines, allowing
      Welcome and Grahovac to work
      unvaccinated in a field-based
      representative role would have placed
      Amplity’s other employees and the


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      public at large at risk by exposing
      them to COVID-19.
122   Amplity considered it an undue            Object to “Amplity considered” as a legal
      hardship to be unable to fulfill the      conclusion, speculation, and hearsay.
      contractual requirements of its clients   Object as O’Loughlin has no personal
                                                knowledge of the contracts of each client and
                                                she specifically testified the Review Board
                                                never considered any clients.
                                                O’Loughlin testified the Board didn’t review
                                                clients or client information. “that was not
                                                the purpose of the board.” Ex. A ECF 78-19
                                                (O’Loughlin) p.70:21-24.

                                                A I’m telling you what we reviewed. We did
                                                not review clients. We did not review client
                                                information in the review board. That was
                                                not the purpose of the review board.
123   ¶ Based on what was known about           Denied. Green’s statement is inadmissible
      COVID-19 at the time, Amplity was         as not complying with 28 U.S.C. §1746
      concerned that if its employees were      These assertions cannot be presented in a
      spreading COVID-19, making people         form that would be admissible in evidence.
      sick or even killing people, it would
                                                Object as speculative and hearsay as to
      have put Amplity and its clients at
      risk of liability for allowing
                                                “what was known” (by who)
      unvaccinated representatives into         “Amplity was concerned” is vague and
      healthcare provider facilities where,     hearsay and a legal conclusion.
      by definition, patients with cancer       Object to “would have put Amplity and its
      and other immunocompromised               clients at risk of liability” is speculative and
      persons were present. Amplity             a legal conclusion.
      determined that this risk was too         Put an end to Amplity’s business is
      great and could place all of Amplity’s    speculative with lack of personal knowledge.
      customer relationships and customer       Risk is speculation and lacks foundation and
      contracts in jeopardy. This could have
                                                personal knowledge.
      literally put an end to Amplity’s
      business
                                                Green is attempting to state an economic
                                                analysis which O’Loughlin specifically stated
                                                was not performed by the Review Board.
                                                The Review Board did not conduct any global
                                                financial cost analysis, or any specific
                                                economic cost analysis as to a specific
                                                employee, as to accommodating any Field
                                                Based employees with religious objections to
                                                the Covid 19 vaccine injections.
                                                ECF 78-5 (Ex. 6) p.32¶2-10 (O’Loughlin
                                                deposition in Isensee)
                                                Ex. A ECF 78-19 p.135¶14-21; p.165¶4-6;
                                                p.58¶1-4; p.59¶14-24; p.60¶5-19; p.111¶11-
                                                19.
124   On November 22, 2021, Welcome             Denied.
      informed Amplity of her decision not      The citation does not support the assertion.
      to get the COVID-19 vaccine.

                                                xli

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                                                Objection as to “Not to get the vaccine” is
                                                vague.
                                                What Emily said was:
                                                “As stated on our phone conversation, I will
                                                not be receiving the current options for
                                                Covid-19 vaccines. I am also not voluntarily
                                                resigning. It is inappropriate for the
                                                company to even suggest that an employee
                                                should voluntarily resign considering there is
                                                currently no lawful mandate in place
                                                requiring vaccination status for
                                                employment.”
125   Because COVID-19 vaccination was          Admit that the requirement alone, without
      required for the Biosimilar Account       any interactive process, resulted in Emily
      Specialist role, Welcome was placed       forfeiting her job and being placed on unpaid
      on an unpaid leave of absence             leave.
      beginning November 29, 2021,
                                                Denied in part. Amplity 195 doesn’t say
      although she was permitted to use
      paid time off during the period.
                                                “unpaid leave of absence.” The email says
                                                “unpaid leave.”
126   Grahovac was put on an unpaid leave       Denied. There is no Amplity 388 Goes from
      of absence on December 2, 2021.           258 to 379
127   Welcome was terminated on                 Denied. There is no Amplity 306-307
      December 13, 2021.
128   Grahovac was terminated on                Denied. There is no Amplity 353-354
      December 10, 2021.
129   Welcome and Grahovac were                 Denied.
      terminated based upon their failure to    Object as the Interrogatories are
      comply with an Amplity policy that        inadmissible hearsay
      applied to all US field-based             The contention is also an admission that it
      colleagues, and the consequence of
                                                was predetermined to terminate all
      termination applied to all such
      employees who failed to get
                                                employees who requested an accommodation
      vaccinated and could not obtain a         because it does not claim that Amplity could
      100% remote position, regardless of if    not accommodate without undue hardship.
      they choose to file an exemption          Instead, it asserts that it was “regardless of
      request based upon religion.              if they choose to file an exemption request
                                                based upon religion.” The Title VII process
                                                mandates Amplity not relegate an
                                                accommodation request as irrelevant.
                                                It is further controverted as Amplity claimed
                                                they were terminated because each violated
                                                the Organon vaccine policy.
                                                It is controverted in Amplity’s EEOC Charge
                                                Response stating Emily was fired because
                                                she violated the Organon policy.
                                                ECF 78-10 (Ex. 13)
                                                ECF 78-17 (Ex. 26) (Admissions) para. 42
                                                (“Organon implemented a policy that
                                                required all Amplity field based


                                               xlii

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                                                 representatives assigned to their contract to
                                                 be fully vaccinated by November 24, 2021”).

                                                 It was predetermined that all requesting
                                                 employees would forfeit their positions and
                                                 be placed on unpaid leave as a one-size fits
                                                 all with no case by case analysis.
                                                 Ex. A ECF 78-19 (O’Loughlin), p.104¶10-15;
                                                 p.105¶14-18; p.107¶12-18; p. 118¶8-15.
                                                 O’Loughlin p.135¶14-21; p.165¶4-6; p.58¶1-
                                                 4; p.59¶14-24; p.60¶5-19; p.111¶11-19.
                                                 Ex. B ECF 78-20 (McAndrews) p.122¶5-7;
                                                 p.197¶9-17; p.270¶15-22; p.145¶6-20;
                                                 p.150¶7-11.

                                                 There was no decisions to be made and why
                                                 no vote was ever taken later.
                                                 Ex. A ECF 78-19 (O’Loughlin) p. 72: 17-
                                                 p.73:17 (“There was no voting….Saying there
                                                 was a vote is explicitly indicating there was
                                                 an act”)
130   Amplity separated fifteen employees        Denied.
      (either termination or resignation) for    Object as the Interrogatories are
      failing to comply with its Vaccination     inadmissible hearsay
      Policy, including several that did not     The citation does not support the assertion.
      posit religious grounds, but were
                                                 Amplity 1379 doesn’t say terminated or
      terminated, nonetheless
                                                 resigned Object as hearsay with no personal
                                                 knowledge or foundation
131   In February 2022, within two months        Denied to the extent that her new position is
      after her termination, Welcome began       not the same as to all responsibilities,
      employment with Abbvie, a drug             geography, and travel. Emily’s new position
      manufacturer at a base salary of           was a much larger territory requiring more
      $155,000 (plus bonus
                                                 travel.
      opportunities and other benefits, and
      has already had a salary increase and
                                                 When Emily left, she had the state of
      a promotion), which                        Missouri. ECF 78-22 p.12:8-13.Emily’s
      was higher than her Amplity base           territory with Abbvie was larger. P.128:1-7.
      salary.                                    And the new position requires her to travel
                                                 much more. P.129:20-25.
132   Other than Abbvie, “a number” of           Admit although not a material fact
      companies that Welcome applied to
      refused to interview her because she
      was not vaccinated for COVID-19.
133   In February 2022, within two months        Admit although not a material fact
      after her termination, Grahovac
      began employment with TeraSera
      Therapeutics at a base salary of
      $146,500 (plus bonus opportunities
      and other benefits, and has already



                                                xliii

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         had a salary increase), which was
         higher than her Amplity base salary.
  134    Other than TeraSera Therapeutics,         Admit although not a material fact
         100% of the other companies
         Grahovac applied to required the
         COVID-19 vaccination.


                               Additional Statement of Facts

1. On December 10, 2021, Karen McAndrews communicated to Charlotte Grahovac

that there were no positions open for her. McAndrews said there were no positions

open for the future and that “we can’t keep you on a leave of absence so we’re going to

have to separate with you but you still have benefits through the end of the month.”

Plaintiffs’ Ex. 2 (Charlotte Sworn Statement).

2. Charlotte asked McAndrews if there were any positions in her Chicago area if she

was vaccinated. McAndrews said “we don’t have anything.” McAndrews said “we just

can’t keep you on leave of absence indefinitely. We don’t have any new business or

remote jobs and we don’t know if we will have jobs available – that’s why they are

telling me to tell you this.” Plaintiffs’ Ex. 2.

3. Charlotte told McAndrews that “I don’t know why my religious exemption wasn’t

accepted and no reason was given me other than I didn’t prove it to you.” McAndrews

said “Charlotte, they’re not approving any accommodations just so you know – none.”

4. Charlotte told her “that’s a problem – that’s an issue. It feels like retaliation and

I’m being discriminated against.” McAndrews said “I keep asking senior leadership

what the deal is but no one is giving me a response.” Plaintiffs’ Ex. 2.

5. Charlotte told McAndrews that they “could reconsider my exemption and re-instate

my job.” McAndrews said “this stinks all the way around” to which Charlotte said “you


                                                xliv

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are absolutely right – it absolutely does.” McAndrews said “I know this is lip service

and I know you are hoping.” Plaintiffs’ Ex. 2.

6. Charlotte told McAndrews “so they aren’t going to look at my religious exemption

and the additional information I sent and then have them reconsider the denial?”

McAndrews said she “asked senior leadership that same question but they are

adamant – adamant that we have this policy and they aren’t going to change this

policy. Maybe you could find a different company and I will say this part out loud –

who is a little bit more flexible. I know this stinks. I don’t make the policy at Amplity

and I wish I wasn’t working through these issues to be honest.” Plaintiffs’ Ex. 2.

7. Charlotte told McAndrews that “I understand there are people at the clients being

Organon who have employees who gave them medical and religious exemptions so to

me if you’re serving the client and the client’s interests in their own employees is

higher than someone who is a contractor that doesn’t make sense to me.” Plaintiffs’ Ex.

2.

8. McAndrews said “well, they can do whatever they want with their employees” and

Charlotte said to her “but you guys say you follow the client’s lead so if that is the case

why wouldn’t we be afforded the same exact opportunities?”

9. McAndrews said “I know of one client that – and it wasn’t Organon – that we want

vaccinated people on the contract.. if you’re not able to provide that then we’re going

to pull the contract. But I did hear about accommodating one person even in that

contract.” Plaintiffs’ Ex. 2.

10. Charlotte said to McAndrews “it still sounds like discrimination to me if I am on a

contract and the client is affording their own employees exemptions I don’t see how
                                            xlv

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Amplity wouldn’t – it would have to be on a case by case basis with each contract – not

just a blanket over the top across everyone in the company that doesn’t make sense to

me. It feels very discriminatory.” Plaintiffs’ Ex. 2.

11. Paul William DeSilva was a peer of Karen McAndrews and held the same human resource

position as Karen McAndrews. Ex. B ECF 78-20, p.163:5-13.

12. Amplity’s Rule 26 disclosures do not identify any third party witnesses associated with

Nabriva, Alkermes, Organon, Merck, Novartis, Scynexis, UGNX, Aadi, Harmony, Takeda,

Ipsen, Galderma. Ex. 4 (Rule 26 disclosures).

13. During 2021, Amplity contracted with companies Nabriva, Alkermes, Organon, Merck,

Novartis, Scynexis, UGNX, Aadi, Harmony, Takeda, Ipsen, Galderma to provide Amplity

employees to market drugs promoted by those companies. Ex. B ECF 78-20,(McAndrews

deposition) p.251 ¶10-15; ECF 78-12 (Ex. 17) (Spreadsheet).

14. Ex. 17 from McAndrews deposition was a list compiled by McAndrews of the number of

Amplity employee religious requests in 2021 and the number of employees terminated or quit

because of the Amplity vaccine mandate. Ex. B ECF 78-20 p.254¶16-20; p.255¶12-14; p.258¶8-

17; p. 259¶7-16.

15. Amplity did provide different accommodations to certain Amplity sales representatives

allowing them to keep their sales position while not being “fully vaccinated.” Ex. B ECF 78-

20, p.163¶5-21; p.173 ¶7-25.

16. One employee who was given this accommodation was told to keep it a secret. Ex. B ECF

78-20, p.163¶5-21; p.173 ¶7-25.

17. McAndrews stated that this was done because if others found out they would expect the

same treatment. Ex. B ECF 78-20, p.163¶5-21; p.173 ¶7-25.




                                            xlvi

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18. McAndrews said she wasn’t surprised because “we might have others coming forward”

saying “I want the same deal he got.” Ex. B ECF 78-20, p.163¶5-21; p.173 ¶7-25.

19. McAndrews stated Scynexis Field representatives obtained religious accommodations to

remain in their positions while not being fully vaccinated. Ex. B ECF 78-20, p.175 ¶7-16; p.175

¶18-p.177 ¶12.

20. McAndrews said that the fully vaccinated requirement put upon Emily and Charlotte was

because Organon required it. Ex. B ECF 78-20, p.57¶22-p.58¶12; ECF 78-15 (Ex. 24).

21. McAndrews said as of “November 24, Organon requires vaccination of Amplity employees.”

ECF 78-15 (Ex. 24).

22. In O’Loughlin’s opinion, the Review Board would have provided the Organon vaccine

policy to an Amplity employee if the Review Board was expecting that employee to comply

with that policy. Ex. A ECF 78-19 p.86¶17-20.

23. Under those circumstances O’Loughlin believed Amplity would have provided the

Organon vaccine policy to Emily and Charlotte because “job requirements would be

communicated to the employee.” Ex. A ECF 78-19 p. 86¶21-25.

24. Amplity never provided whatever the Organon vaccine policy was to Emily or Charlotte.

Ex. A ECF 78-19 p.88¶16-22.

25. O’Loughlin believed that even if Organon had given Emily a religious accommodation to

Organon’s vaccine policy that the Review Board would have terminated Emily’s employment

anyway. Ex. A ECF 78-19 p.90¶17-24.

26. Amplity contended to the EEOC that Organon required Amplity employees to be

vaccinated for the covid 19 virus. ECF 78-15 (Ex. 4), p. 3. (EEOC Charge Response).

27. In the position statement made by Amplity to the EEOC, it claimed that Emily was

terminated because she failed to comply with the Organon covid-19 vaccine policy. ECF 78-15

p. 3.
                                             xlvii

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28. In the Amplity position statement to the EEOC regarding Emily’s EEOC charges, Amplity

affirmatively states more than once that “Ms. Welcome was terminated from employment as

of December 13, 2021 for failure to comply with Amplity’s and Organon’s vaccination policy”

and “Complainant was terminated for failing to comply with the Amplity vaccination policy

and for non-compliance with Amplity’s customer, Organon’s vaccination policy.” ECF 78-15

p.3.

29. Amplity further stated to the EEOC that “Organon implemented a policy that required all

Amplity field based representatives assigned to their contracts (as Complainant was) to be

fully vaccinated no later than November 24, 2021.” ECF 78-15 p.4.

30. Amplity further stated to the EEOC that “Ms. Welcome was terminated on December 13,

2021 for failure to comply with Amplity’s and Organon’s vaccination policy.” ECF 78-15 p.5.

31. In Amplity’s position statement to the EEOC regarding Charlotte’s EEOC Charge,

Amplity stated “Charging Party was terminated for failing to comply with the Amplity

vaccination policy and for non-compliance with Amplity’s customer, Organon’s vaccination

policy.” ECF 78-10 (Ex. 13) (Amplity EEOC position statement to Grahovac EEOC complaint)

p.3.

32. Amplity’s position statement regarding Charlotte’s EEOC Charge also stated “Similarly,

Amplity’s customer Organon implemented a policy that required all Amplity field based

representatives assigned to their contracts (as Charing Party was) to be fully vaccinated no

later than November 24, 2021.” ECF 78-10 p.4.

33. In the Charge response Amplity stated Charlotte had three options – none of which

included retaining her sales position without being fully vaccinated: “Consider other jobs with

Amplity that are 100% remote (and therefore not subject to the vaccination policy); (2) Get

vaccinated; or (3) Separate from Amplity.” ECF 78-10 pp.4-5.



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34. Amplity stated to the EEOC that “Despite the violation of Organon’s requirement to be

fully vaccinated by November 24th and Amplity’s requirement to be fully vaccinated by

December 1, 2021, Ms. McAndrews told Charging Party that Respondent would consider her

to be compliant as long as she received her first dose and was in process. Charging Party

agreed and reaffirmed her decision to get vaccinated.” ECF 78-10 p.5.

35. Amplity, through its Review Board, pre-determined to deny all employee accommodation

requests to Amplity’s covid-19 vaccine mandate and offer a one-size-fits-all proposal as to

those employees in field based sales positions. Ex. A ECF 78-19 p.104 ¶10-15; p.105 ¶14-18;

p.107¶12-18; 108 ¶16-23; Ex. B ECF 78-20 p.190 ¶4-23; p.195 ¶8-16.

36. The Review Board predetermined that all non-compliant employees would lose their

salaried sales position prior to the Amplity vaccine mandate being enacted and published to

its employees. Ex. A ECF 78-19 p.104 ¶10-15; p.105 ¶14-18; p.107¶12-18; 108 ¶16-23; Ex. B

ECF 78-20 p.190 ¶4-23; p.195 ¶8-16.

37. The Review Board decided exactly what specific accommodation it would offer all Amplity

employees weeks before it received the first employee accommodation request. ECF 78-3 (Ex

3) (Amplity Policy Memo); Ex. A ECF 78-19 p.104 ¶10-15; p.105 ¶14-18; p.107¶12-18; 108

¶16-23; Ex. B ECF 78-20 p.190 ¶4-23; p.195 ¶8-16.

38. The Review Board pre-determined that, for what it called “core” employees, those

employees were provided different options – opt to be fully vaccinated or if not take a test 72

hours prior to an in-person meeting. ECF 78-3 (Ex 3): Ex. A ECF 78-19 p.100 ¶23-p.101¶4;

p.104¶10-15; p.105¶14-18; p.107¶12-18; p.108 ¶16-23.

39. The Review Board decided, prior to the publication of its vaccine mandate on October 5,

2021, that every Field Based Amplity employee that was not “fully vaccinated” would forfeit

their salaried Field Sales position, then have the position filled by a fully vaccinated



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individual, and then the employee be placed in unpaid leave status. Ex. A ECF 78-19

p.104¶10-15; p.105¶14-18; p.107¶12-18.

40. O’Loughlin had sent an October 5, 2021, email announcing the policy. ECF 78-1 (Ex. 1)

(October 5, 2021 email); Ex. B ECF 78-20 p.289¶24-p.290¶24.

41. That decision, made by this Review Board, was prior to the Review Board’s consideration

of any religious accommodation request by any Amplity employee. Ex. B ECF 78-20 p.188¶14-

25; Ex. A ECF 78-19 p.104¶10-15; p.105 ¶14-18; p.107¶12-18.

42. There was no discussion by the Review Board of the possibility of any Field Based

employee keeping her salaried sales position while not being fully vaccinated. Ex. A ECF 78-

19 p.170¶13-20; p.171¶14-25; p.104¶10-15; p.105¶14-18; p.107¶12-18.

43. The only option the Review Board determined would happen for these field based sales

representatives was just one pathway: each would lose their job, be placed in unpaid leave

status, and then apply for another position at Amplity which did not require the employee to

be being fully vaccinated. Ex. B ECF 78-20 p.129¶15-22; Ex. A ECF 78-19 p.104¶10-15;

p.105¶14-18; p.107¶12-18.

44. Out of the 1,000 Amplity employees, the Review Board would not require approximately

200 “core” Amplity employees to be “fully vaccinated.” Ex. A ECF 78-19 p.44¶3-16.

45. These “core” employees worked in two U.S. locations in which there was “in personal

contact with each other.” Ex. A ECF 78-19 p.19¶1-5.

46. The 200 core employees were client facing role such as HR, finance, technology, legal, and

support staff which included O’Loughlin. Ex. A ECF 78-19 p.45 ¶15-21.

47. For those 200 employees the Review Board predetermined an alternative to being “fully

vaccinated” by obtaining a negative Covid PCR test 72 hours prior to the personal contact.

ECF 78-3; Ex. A ECF 78-19 p.126¶8-20; p.132¶17-p.133¶15.



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48. The Review Board determined a negative Covid PCR test would sufficiently address the

risk of virus transmission. Ex. A ECF 78-19 p.127¶4-20.

49. Amplity received communications from its client companies that some had a position on a

covid 19 vaccine requirement. Ex. B ECF 78-20 p.33¶2-7.

50. Some clients shared that they did not have a covid 19 vaccine requirement. Ex. B ECF 78-

20 p.33¶8-20.

51. McAndrews stated that merely because a company client had a vaccine mandate for its

own employees did not mean that Amplity employees assigned to that contract had to be

vaccinated. Ex. B ECF 78-20 p.38¶22-p.39¶2.

52. Amplity never offered Emily or Charlotte a comparable position that removed the conflict

between the fully vaccinated mandate and their respective religious practice, and preserved

the terms, conditions, or privileges of their employment. Ex. B ECF 78-20 p.190 ¶4-23; p.195

¶8-16; Ex. B, p.129¶15-22; Ex. A ECF 78-19 p.104¶10-15; p.105¶14-18; p.107¶12-18.

53. Before making this decision, the Review Board conducted no analysis as to transferring or

substituting Amplity employees between Amplity’s clients. Ex. B ECF 78-20 p.13¶17-p.14¶11;

p.1¶19-p.15¶13; p.89¶13-20; p.139¶23-p.140¶5.

54. Before making its decision, the Review Board never considered any analysis as to

reconfiguring territories, increased costs, or administrative difficulties because “it’s not that

easy” and “it’s just not standard practice. It’s not something that we typically would do in any

situation.” Ex. B ECF 78-20 p.11¶16-p.12¶14.

55. The Review Board did not conduct any analysis to determine the costs of reconfiguring or

reassigning Emily’s or Charlotte’s territory if any the specific facilities within their territory

actually denied – or would deny them – personal contact because of their vaccination status.

Ex. B ECF 78-20 p.11¶16-p.12¶14; p.145¶6-20; p.150¶7-11; p.13¶17-p.14¶11; p.1¶19-p.15¶13;

p.89¶13-20; p.139¶23-p.140¶5.
                                                li

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56. Amplity never presented any estimate of costs it would or would have incurred if it had

allowed Emily or Charlotte to retain their positions without being vaccinated. Ex. B ECF 78-

20 p.11¶16-p.12¶14; p.145¶6-20; p.150¶7-11; p.13¶17-p.14¶11; p.1¶19-p.15¶13; p.89¶13-20;

p.139¶23-p.140¶5.

57. The Review Board never conducted any analysis as to the specific facility and hospital

systems in Charlotte’s and Emily’s territory had actually denied either access or would deny

their respective requests for a religious exemption submitted through the hospitals’ vendor

credentialing systems at the time of their respective terminations. Ex. B ECF 78-20 p.11¶16-

p.12¶14; p.145¶6-20; p.150¶7-11; p.13¶17-p.14¶11; p.1¶19-p.15¶13; p.89¶13-20; p.139¶23-

p.140¶5.

58. The Review Board did not conduct any analysis allowing Emily Welcome to continue to

service her virtual accounts with Organon which would not require being fully vaccinated. Ex.

B ECF 78-20 p.145¶6-20; p.150¶7-11.

59. The Review Board did not conduct any global financial cost analysis, or any specific

economic cost analysis as to a specific employee, as to accommodating any Field Based

employees with religious objections to the Covid 19 vaccine injections. ECF 78-5 (Ex. 6)

p.32¶2-10 (O’Loughlin deposition in Isensee); Ex. A ECF 78-19 p.135¶14-21; p.165¶4-6;

p.58¶1-4; p.59¶14-24; p.60¶5-19; p.111¶11-19.

60. O’Loughlin acknowledged there were possible accommodation considerations if money

were no object. Ex. A ECF 78-19 p.139¶6-16.

61. The Review Board determined that it was a reasonable accommodation for the employee’s

salaried position to be forfeited, then be placed on unpaid leave, then have the employee wait

for a 100% remote position that paid $40,000 less than the Field Based salary. Ex. B ECF 78-

20 p.190 ¶4-23; p.195 ¶8-16.



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62. O’Loughlin was unaware that the Review Board was required to consider all possible

accommodations for an employee requesting a religious accommodation to the vaccine

mandate. Ex. A ECF 78-19 p.141¶7-18.

63. O’Loughlin understood the interactive process to be “making sure we understood what the

accommodation was, the review of that, engaging with the individuals to help them

understand what the remote positions were that we had available to them.” Ex. A ECF 78-19

p.143¶3-9.

64. O’Loughlin said the accommodation process was the employee “waiting for a virtual

position to open up.” Ex. A ECF 78-19 p.144¶1-4.

65. All of the remote roles offered to Emily, after she lost her sales position and put in unpaid

leave status November 29, 2021, required the employee to be fully vaccinated. ECF 78-22 (Ex.

D) (Welcome deposition), p.85¶7-p.86¶10; p.88¶14-19.

66. Amplity had posted Emily’s position as vacant on LinkedIn prior to Emily being put on

unpaid leave status November 29, 2021. ECF 78-22 p.67¶1-14.

67. Emily received an email from an Amplity employee giving Emily closeout instructions in

which Emily was told Emily had already resigned and needed to ship back her computer prior

to being placed on unpaid leave. ECF 78-22 p.68¶1-11.

68. McAndrews omitted telling Emily that the remote positions being offered also required a

substantial decrease in pay which Emily considered to be misrepresentations to her. ECF 78-

22 p.87¶1-20.

69. Emily’s direct supervisor was Curt Gauen and he refused to communicate with Emily.

ECF 78-22 p.12¶14-23; p.39¶3-15; p.73¶20-p.74¶25.

70. Emily was instructed to only have communications with McAndrews. ECF 78-22 p.12¶14-

23; p.39¶3-15; p.73¶20-p.74¶25.



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71. Amplity had no communications with Emily and Charlotte, prior to October 5, 2021,

regarding the Review Board’s decision to terminate all non-compliant Field Based employees

from their sales position and place them on unpaid leave. Ex. A ECF 78-19 p. 117¶24-p.118¶9.

72. The Review Board had already made the decision that the only thing Amplity was willing

to do for employees objecting to the covid 19 vaccine mandate was then make one offer, which

is 100% virtual position if it was open which was prior to any interactive process. Ex. A ECF

78-19 p.118¶8-15.

73. The Review Board determined that a Field Based employee would have no direct

communications with the Review Board. Ex. B ECF 78-20 p.142¶1-17.

74. The Board set up Erica Smith as its contact person who would communicate to Human

Resource employees, such as Karen McAndrews, who in turn would communicate with the

Field Based employee. Ex. B ECF 78-20 p.142¶1-17.

75. Under this tiered communication procedure, Field Based employees seeking a religious

accommodation were limited to communicating with the Human Resources representative.

Ex. B ECF 78-20 p.142¶1-17.

76. Unlike how religious accommodation requests were normally handled, the Review Board’s

blanket decision made prior to October 5, 2021, was made without consulting any of the Field

Based employees’ direct supervisors and these employees were not allowed to engage in

interactive dialogue with Amplity’s decision making Review Board. ECF 78-22. p. 13 ¶4-9;

p.71 ¶3-10; Ex. A ECF 78-19 p.109 ¶19-25; p.110 ¶9-15.

77. Charlotte Grahovac, Emily Welcome, and Natalie Isensee, were all Field based sales

representatives assigned by Amplity to the Organon company as part of Amplity’s outsourced

sales team promoting Organon drugs to doctors and medical facilities. ECF 78-22 p.12¶4-13;

p.64¶5-24.



                                             liv

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                                     ARGUMENT

                         Amplity’s Motion Should Be Denied
  Amplity’s Spaghetti Approach of Shifting of Reasons Alone Has Created
                             Jury Questions
       Amplity claims accommodating either Emily or Charlotte would have caused

a breach of contract – or not met “Organon’s stated expectations.” All based upon

Eric Green’s objectionable legal conclusions, speculation, and hearsay. But let’s back

up.   In    a   spaghetti-throw-against-the-refrigerator-to-see-what-sticks   approach,

Amplity has been remarkably audacious in its ever shifting theories of what exactly

caused the Review Board to fire Charlotte and Emily. Amplity has several theory

horses it has saddled before and during this litigation. First, it saddled the Organon

horse and according to this version, Organon required Amplity to require Emily and

Charlotte to be vaccinated. Then, Emily and Charlotte were fired because they didn’t

comply with Organon’s vaccine policy. But Amplity realized it could not ride that

horse to the finish line for lots of reasons. It raises a co-employer scenario. Then,

even as board member O’Loughlin admitted, given that Amplity was expecting the

Organon vaccine policy to be complied with, Amplity should have provided that policy

to Emily and Charlotte. But oops – Amplity didn’t do that. And if Organon provided

for religious accommodations why couldn’t Emily and Charlotte ask for and receive

religious accommodations from Organon? But oops again – Amplity never provided

plaintiffs a pathway to obtain a religious accommodation to the very policy Amplity

said it fired both for not following. O’Loughlin then said even if Organon had provided




                                            1

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accommodations both would have been fired anyway! So Amplity kind of let Organon

Policy pony go to pasture and then pretended it never existed in the first place.

       But Amplity had more backup horses to saddle. Next came a second horse from

the stable called the “competitive horse.” Amplity’s interrogatory response then

claimed Emily and Charlotte had to get vaccinated so that Amplity could be

“competitive.” But what exactly was the burden? Organon never complained. At the

time of their termination they were able to call on the facilities. But under this theory

Amplity was now no longer the victim of Green’s imagination of Organon’s

“expectations” – no, it was now just the Review Board’s bright idea.4 This competitive

horse had more than its share of problems.              Saying a company wants to be

“competitive” is all about money. Green shotguns a plethora of imagined ideas about

competition and like Chicken Little, exclaims the sky is falling with zero proof. It’s

all made up after the fact. The Review Board didn’t consider which clients of Emily

and Charlotte required vaccinating, the percentage of their clients who permitted

them to continue to make personal sales calls, or what Organon’s position was on

that. But Groff got decided and now their facts again did not line up with the

competitive horse they were riding. What to do?

       So Amplity herded back the first Organon horse it put to pasture. Amplity

declared there was again an Organon connection – this time a brand new risk. The

story goes like this: we will say that we have a contract with Organon, that Organon

contractually “expected” vaccinated employees from Amplity, and that if Emily and


4 Oloughlin p.47:7-10. Q And it’s not because clients asked you to do that or told you to do

that, you just thought it was a good idea, right? A We worked in -- yes. Yes. Yes.
                                              2

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Charlotte continued to service Organon clients unvaccinated that it could – no it

would – jeopardize the entire Organon contract. But that takes on a contract analysis

as a matter of law which Green cannot be the substitute. But that still is an economic

analysis – losing a client is all relative to the overall business. All clients are not

created equal and all have different income streams. But there is that pesky fact that

O’Loughlin repeatedly admitted the Review Board conducted no economic analysis at

all. What now? Hold that horse as Eric Green arrived on the scene. He says he can

ride that competitive horse to the finish line making up an economic analysis after-

the-fact. But Amplity wanted to hedge it bets. It saddled yet a third horse – the

safety-to-the-public horse saying Emily and Charlotte posed a greater threat of

transmitting the covid 19 virus to Amplity employees than the vaccinated employees

did.   More spaghetti. Regarding this “safety” issue, in the admission responses

Amplity admitted it didn’t – and still doesn’t – know if these women presented any

greater health risk than anyone else. The second problem is that Amplity wildly

speculated – on purpose – that Charlotte and Emily jeopardized the health of facility

patients. Green said both Emily and Charlotte had to have been in contact with these

patients “by definition” which is code for “I am just making this up.” But Green and

his Board never investigated whether any patients had personal contact with Emily

or Charlotte – in fact never asked either if they had contact with patients – which

neither did. And why would they? For that matter, the Board never looked into any

of the facilities.




                                          3

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       Then Green said Amplity had to require vaccinations for Emily and Charlotte

in order to protect Amplity employees – even though both literally had no personal

contact with other Amplity employees. And why was it that if Charlotte was going to

have some kind of in person contact with another Amplity employee, why wouldn’t

the testing option work? After all, Green and his board graciously accommodated 1/5

of the Amplity work force (200) (including himself and the rest of the Board from the

vaccination requirement) by giving them the option to test 72 hours before a face to

face contact. If testing worked for these elite employees why not the little people like

Emily and Charlotte?

       All of these theories have fatal, if not totally dishonest flaws. These shifting

explanations supposes maybe the sum of them all can make up for the individual

flaws. Amplity either pretends the maybe one or two horses don’t exist, or kind of

exist, or that the Court can pick a winner from the stable of horses it has running

abreast down the finish line. These are all post hoc rationalizations. See McNeill v.

Tyson Fresh Meats, Inc., at *12 (citing Runkel v. City of Springfield, 51 F.4th 736,

745 (7th Cir. 2022) (rejecting employer’s post hoc rationalization).5

                                     Direct Evidence
       The Review Board pre-ordained that the moment these two women exercised

their right to ask for a religious accommodation that an automatic forfeiture of both



5 See St. Mary’s Honor Center v. Hicks, 509 U.S. 502, 511 (1993) (trier of fact may infer

discrimination upon rejecting an employer’s proffered reason for termination); Grant v. City
of Blytheville, 841 F.3d 767, 774 (8th Cir. 2016); Williams v. United Parcel Serv., Inc., 963
F.3d 803, 808-09 (8th Cir. 2020); Joll v. Valparaiso Cmty. Schs., 953 F.3d 923, 932 (7th Cir.
2020) (employer’s dishonest explanation of a decision can, by itself, “support an inference that
its real reason was unlawful”).
                                               4

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plaintiffs’ pay and positions would occur – and did occur Full stop. Call it a spring-

loaded gun at the door – the sword of Damocles automatically swooped down the

moment each religious accommodation request was made. That is direct evidence of

an adverse employment decision simply because Emily and Charlotte exercised their

religion asking to be accommodated. Amplity posted Emily’s position before she was

placed on unpaid leave. It was a “predetermined illegal punishment for requesting a

religious exemption.” McNeill v. Tyson Fresh Meats, Inc., 2023 WL 8532408 at *7

(N.D. Texas, December 8, 2023). The Review Board did not need any discussion with

Emily and Charlotte nor did it need to make any further decisions as O’Loughlin

admitted – the “predetermined punishment” was set on autopilot even “before [s]he

asked.” McNeill at *7.

      Karen McAndrews admitted to Charlotte that the entire process was a charade

– “lip service” as she told Charlotte on the day McAndrews told Charlotte she was

fired. McAndrews flat out admitted the discrimination – “Charlotte, they’re not

approving any accommodations just so you know – none.” Of course, even that was a

lie when in fact they had given testing accommodations to Amplity employees

assigned to the Nabriva and Scynexis contracts (instructing them to keep it a secret)

– as well as to McAndrews herself as she was in the elite “core” 200 employee group.

McAndrews claimed she confronted leadership “I keep asking senior leadership what

the deal is but no one is giving me a response” when even that statement was not

true. McAndrews admitted accommodations were never an option from the very

beginning. When Charlotte asked if the Board had any intention of reconsidering its



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denial based on rejecting the sincerity of Charlotte’s religious beliefs, McAndrews

said “I asked senior leadership that same question but they are adamant – adamant

that we have this policy and they aren’t going to change this policy. Maybe you could

find a different company and I will say this part out loud – who is a little bit more

flexible.”

       Plaintiffs have stated prima facie cases for retaliation, disparate treatment,

and disparate impact under Title VII. Emily’s MHRA claims are similarly stated.

Amplity concedes this burden has been met for disparate treatment and retaliation.

It is undisputed that each plaintiff had sincere religious beliefs which precluded them

from complying with the vaccination requirement for which they requested

accommodation but were denied. The uncontroverted facts demonstrate that this

requirement had several adverse effects to each plaintiff who could not consent to a

COVID-19 vaccination injection for religious reasons. Each lost their position, placed

on unpaid leave, and ultimately were terminated. That constitutes disparate impact.

       As to all counts including disparate impact, there is direct evidence that

Emily’s and Charlotte’s termination was based upon their exercise of religion.

Amplity claims that the “fact that every one of Plaintiff's similarly-situated

colleagues that refused to get the COVID-19 vaccine was terminated… unequivocally

demonstrates that religious animus was not a motivating factor.” But that is not the

analysis. These plaintiffs were similar to the other fifth of the Amplity work force

who presented this purported health safety risk to fellow Amplity employees.

Amplity claimed it needed to protect other fellow employees in the interrogatory



                                          6

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responses and in Amplity’s October 5th email. Those 200 employees suffered no

adverse consequences and were not terminated because they “refused to get the

COVID-19 vaccine.” The fact that they all had possible personal exposure to other

Amplity employees – and were not required to be vaccinated but could be tested – is

evidence of animus.

         Thus, this policy fell more harshly on the one group than the other. This policy

and the way it was applied, had a discriminatory impact on the religious protected

class.    Disparate-impact claims do not require showing that the protected trait

actually motivated the employer’s decision. Instead, a “facially neutral employment

practice may be deemed illegally discriminatory without evidence of the employer’s

subjective intent to discriminate that is required in a disparate-treatment case.”

EEOC v. Allstate Ins. Co., 528 F.3d 1042, 1047 (8th Cir.2008); Williams v. Wells Fargo

Bank, N.A., 901 F.3d 1036, 1040 (8th Cir. 2018) (neutral personnel policy or practice;

disparate effect of a protected class; and causal connection). But there is more.

                  No Accommodation Was Considered or Offered

         Numerous clients of Amplity did not require vaccinations. And as McAndrews

told Charlotte, she only knew of one client – not Organon – that made that demand.

The “failure of an employer to engage in an interactive process to determine whether

reasonable accommodations are possible is prima facie evidence that the employer

may be acting in bad faith.” Cravens v. Blue Cross & Blue Shield of Kansas City, 214

F.3d 1011, 1021 (8th Cir. 2000). Reasonable accommodations were possible – such as

72 hour testing – which a fifth of the Amplity workforce was given. In fact, allowing



                                             7

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Charlotte and Emily to continue working their territories subject to the facilities’

respective credentialling was a possibility. Liability attaches for failing to engage in

the interactive process. See Fjellestad v. Pizza Hut of Am., Inc., 188 F.3d 944, 952 (8th

Cir.1999) (only if no reasonable accommodation was possible can employer escape

liability for failing to engage in an interactive process). Amplity’s one size fits all

preprogrammed outcome was no accommodation process at all but a “predetermined

illegal punishment for requesting a religious exemption.” McNeill at *7. An employer

who “determines what accommodation it is willing to offer before ever speaking with”

the employee does not participate in good faith. Mosby-Meachem v. Memphis Light,

Gas & Water Div., 883 F.3d 595, 606 (6th Cir. 2018); Lowe v. Calsonickansei N. Am.,

Inc., 2020 WL 2473757, at *8 (M.D. Tenn. May 13, 2020). “When the employer fails

to engage in the interactive process, it is not likely that an employer will be able to

establish on summary judgment the absence of a disputed fact as to the existence of

a reasonable accommodation.” Valdez v. McGill, 462 F. App’x 814, 819 n.5 (10th Cir.

2012).

         Amplity made legal and speculated conclusions about what was an essential

function of the plaintiffs’ respective sales territories.      But the Review Board

specifically did not consider any of that at all as O’Loughlin admitted. This Court

should not take at face value Amplity’s claims about a job’s essential functions –

particularly when Amplity did not take the time to do a case analysis to Emily or

Charlotte’s client facilities – or what the present status of their contacts with each

facility. See e.g. Brown v. Smith, 827 F.3d 609, 613-14 (7th Cir. 2016) (jury verdict for



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plaintiff who could not obtain commercial driver’s license even where written job

description said such license was required for job; evidence of actual duties

undermined claim of essential function).

Rule 26 Disclosures Preclude Any Ability of Amplity to Overcome Hearsay
                              Objections
      Amplity has alternatively claimed it had to fire Emily and Charlotte, not

because of safety health concerns, but because Organon told Amplity it required covid

19 vaccinated employees from Amplity. The citations to Eric Green, Becky

O’Loughlin, and Karen McAndrews about their purported knowledge about all of

Amplity’s clients, the facilities that those clients visited, the requirements of those

facilities, and then the contracts provide no clue as to how they know the things they

purport to opine upon – particularly when McAndrews was not a decision maker or

part of the Review Board – and then when O’Loughlin testified the Board never

considered any of the contracts or purported communications essentially saying that

had nothing to with why Amplity enacted its vaccine mandate.

      Plaintiffs have challenged all of the plethora of hearsay evidence presented by

Amplity. “Without a showing of admissibility, a party may not rely on hearsay

evidence to support or oppose the motion” for summary judgment. Walker v. Wayne

Cnty, Iowa, 850 F.2d 433, 435 (8th Cir. 1988). Amplity cannot overcome hearsay

objections to its assertions of fact regarding what Organon – or other of its other

clients – purportedly communicated to it as Green, O’Loughlin, and McAndrews

might contend. Federal Rule of Civil Procedure 56(c)(2) provides that a party may

object that material cited to support or dispute a fact cannot be presented in a form


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that would be admissible in evidence. Fed. R. Civ. P. 56(c)(2). Plaintiffs objected to

Amplity’s assertions based upon hearsay which Amplity cannot demonstrate that

those statements could be offered at trial in an admissible form. See Smith v. Kilgore,

926 F.3d 479, 485 (8th Cir. 2019). Rule 26(a)(1)(A)(i) requires a party to disclose the

name of any individual likely to have discoverable information. The Rule 26

submission did not disclose any representative or employee of any of Amplity’s

companies – including Organon. When a party fails to comply with Rule 26(a), the

party may not use the witness to provide evidence on a motion “unless the failure was

substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1).

           Amplity Cannot Meet Any Undue Hardship under Groff
      The clarification of the undue hardship standard in Groff v. DeJoy, 600 U.S.

447 (2023) now requires an employer to prove that the burden of accommodation “is

substantial in the overall context of an employer’s business.” As the Fifth Circuit in

Hebrew v. Texas Dep’t of Criminal Justice, 80 F.4th 717 (5th Cir. 2023) noted, “this is

a heavy burden.” Id. at 722. The Groff decision “suggests that, all other things being

equal, larger businesses and institutions must bear a heavier burden in proving

undue hardship.” Hebrew at 725, fn*.

      Amplity’s original theory of its case was that it did not need to prove undue

hardship – it was not asserted as defense in its Answer. Rather, Amplity simply

asserted that Emily and Charlotte were terminated for “legitimate business reasons

unrelated to their purported religious beliefs or requests for accommodations.” ECF

30, p.21 ¶5. This was its stated position in response to the EEOC charges (Emily and

Charlotte “terminated for failing to comply with a valid and enforceable company

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policy”). ECF 78-10, p.7.6 It was only after Groff was decided that Amplity then

wanted to change its theory and filed, without leave of court, an amended answer

asserting the undue hardship defense. ECF 39. But that required Amplity to re-write

history which it has attempted to do in its many post hac theories on the back of

Green’s statements. When the plaintiffs propounded interrogatories specifically

asking Amplity to provide economics – total income, income from Organon, etc.

Amplity objected – and never provided that information. When O’Loughlin and

McAndrews were deposed in Isensee and the present litigation, it was then discovered

that the Review Board never conducted any economic analysis – for that matter never

considered individual client contracts, or even the facilities that Emily and Charlotte

had in their respective territories.

       Although Green tries to sneak an economic analysis, Amplity never did that.

And its Rule 26 disclosures never disclose one witness from Organon – or any client

– that Amplity was going to rely upon purported communications from Organon

demanding vaccinated employees from Amplity. Amplity only identified its own

employees – and no third party witnesses. Having refused to provide that

information, Green cannot, for the first time, do an end-around with his economic

numbers of Amplity total income and his statement of Organon’s income flow in which




6 ECF 40-1 p. 3 (“Complainant was terminated for failing to comply with the Amplity
vaccination policy and for non-compliance with Amplity’s customer, Organon’s vaccination
policy”); p. 5 (“Ms. Welcome was terminated on December 13, 2021 for failure to comply with
Amplity’s and Organon’s vaccination policy…. Ms. Welcome’s termination had absolutely
nothing to do with her religious beliefs, but instead, with her refusal to comply with a valid
employment policy after she received ample notice of the requirements, and was explicitly
warned that she may be terminated for noncompliance”)..
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he also claims a plethora of purported communications from Organon – as well as

Amplity’s other clients – to justify his speculative “risk” theory. If Amplity wouldn’t

disclose that information the plaintiffs would rely upon Fed. R. Civ. P. 37(c)(1).

                             Bushra is Contrary to Groff

       What is left? Amplity places all its bets on a Pennsylvania district case in

Bushra v. Main Line Health, Inc., No. 23-1090, 2023 WL 9005584 (E.D. Pa. Dec. 28,

2023). Bushra is an outlier and not persuasive as to interpreting Groff. Bushra

briefly acknowledged Groff but then immediately reverts to the Third Circuit’s pre-

Groff holding in E.E.O.C. v. Geo Group, Inc., 616 F.3d 265 (3d Cir. 2010) that

“economic and non-economic costs can impose an undue hardship on employers.”7 The

Bushra court then proceeded to declare an undue hardship in the form of “substantial

social” costs – whatever that means. The Bushra court added “if not economic costs”

but there was no economic analysis provided at all as to the overall size and operating

costs of Main Line or potential impact of masking, testing, or quarantining – it was a

speculative throwaway statement by that court. And the Bushra court was not

confronted with what Amplity did in giving 1/5 of its work force different options to

be tested prior to personal contact. Bushra’s analysis was not fact sensitive at all to

the totality of factors Groff demands such as “temporary costs, voluntary shift

swapping or administrative costs” either categorically, or typically, will not amount

to a substantial hardship. Groff at 471.


7 The Groff court engaged in a dictionary-focused consideration of the meaning of “hardship”

and “undue hardship.” Groff at 468-71. A “hardship” must be “something hard to bear,” Id.
at 468-69 and perhaps a matter of “suffering or privation,” Id. at 469 if not “extreme
privation.” Id.
                                            12

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       In EEOC v. The GEO Group, Inc., it addressed a dress policy of the prison Hill

Facility which prohibited wearing hats or caps unless issued with the uniform. Id. at

267-681. The prison instituted the policy for safety and security reasons. Id. at 272.

The rationale behind the policy was to prevent the introduction of contraband into

the facility and to avoid misidentification. After implementing this policy, Geo Group

allowed employees to wear black baseball hats with the company’s logo. Id. at 267-

681. Three Muslim women employees asked for an exception to wear instead a

khimar which they had worn prior to the policy enactment. The prison warden

refused their request and threatened to either fire or suspend the three. The lower

court held that a uniform dress code enhanced cohesiveness, cooperation, and the

esprit de corps of the prison employees. GEO held that an employee safety risk

automatically constituted undue hardship irrespective of the economics of

accommodating the particular employee in view of the entire prison system. That is

not the Groff analysis which Bushra errantly relied upon.

       The same “safety” issue analyzed under Groff would yield a different result as

the Fifth Circuit decision in Hebrew v. Texas Dep’t of Criminal Justice, 80 F.4th 717

(5th Cir. 2023) so held.8 Substituting a beard for a khimar, it was the same argument

but with a different outcome under Groff. The Court should follow Hebrew’s analysis

of Groff which requires an economic analysis to every possible accommodation. The

below cases also support following Groff and not following the erroneous Bushra

interpretation:


8 Groff’s language essentially tracks undue hardship factors under 29 C.F.R. 1630.2(p)(2).




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•   Floyd v. Trinity Central Home Health, LLC, No. 6:22-cv-061172024 WL 3653055
    (W.D. Ark. Aug. 5, 2024)
•   U.S. v. Department of Corrections & Rehabilitation, No. 2:24-cv-00925, LEXIS
    109106; 2024 WL 3088654 (E.D. Cal. June 20, 2024)
•   Isensee v. Amplity, Inc., 2024 WL 2132419 (S.D. Ohio West May 13, 2024)
•   Gray v. Main Line Hosps., Inc., 2024 U.S. Dist. LEXIS 26885 (E.D. Pa. Feb. 15,
    2024)
•   McNeill v. Tyson Fresh Meats, Inc., 2023 WL 8532408 (N.D. Texas, December 8,
    2023)
•   Smith v. City of Mesa, No. CV-21-01012-PHX-DJH, 2023 WL 2463819 (D. Ariz.
    Mar.10, 2023)
•   Hayslett v. Tyson Foods, Inc., No. 1:22-cv-01123 (W.D. Tenn. Sept. 20, 2023)

       With no economic analysis Amplity cannot demonstrate any undue hardship

to its claimed safety burden, much less to all of the other possible accommodations

that could have been considered for Charlotte and Emily but were not.

      Putting Aside the Horses, the Review Board Predetermined Every
    Outcome While Creating the Illusion of Ongoing Case-by-Case Decision
                                   Making
       A paradox Amplity presents to the Court is this notion that it said, in its policy

announcement, that all requests would be considered on a case by case basis – yet in

reality preprogrammed the entire process, before it every started, with a one-size fits

all determination that every request for an accommodation would automatically be

met with forfeiture on the position and placement on unpaid leave. That is why

O’Loughlin made the admission that the Review Board never needed to vote

thereafter at all – there was nothing left to decide. It had all been preprogrammed

on autopilot with one destination: lost pay and job. O’Loughlin said the Review Board

was merely there to herd each requestor, like cattle down to the Purgatory holding

chute, all the while where McAndrews was offering false hopes like wine mixed with

gall on a sponge, adding insult to injury to Emily and Charlotte awaiting (unknown


                                           14

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to them) the certain executioner’s spring-loaded head shot to these women’s careers.

And the illusion was certainly orchestrated on a premediated basis. This Review

Board set up a hide-the-nut kind of whisper game shielding itself, as the decision

maker – from any actually contact or dialogue with the employee. It set itself up like

the great Wizard of Oz. Behind that curtain it only communicated with Erica Smith

who then spoke to the Human Resource employees Karen McAndrews and Paul

William DeSilva. They in turn, according to O’Loughlin, were to act out a role she

called “white glove” which was pretense – merely pretending to be the employee’s

“advocate.”

      McAndrews carried through with her “white glove” theatrics giving the wholly

false impression that the Board was actually considering Emily’s and Charlotte’s

requests individually, on a case by case basis, when each of their respective fates had

already been sealed before the first act of this cruel theatre even began.         But

McAndrews knew the fix was in from before the beginning – there wasn’t any

advocating at all – she knew Emily’s and Charlotte’s Purgatory fate the moment each

asked for an accommodation. She led both on as though the Board would really

consider their unique situations, the facilities that were in their areas, and the idea

of possible transfers or modifications of territory. But it was all theatre.

                                     Conclusion
      The material facts in Amplity’s motion are completely controverted. Amplity’s

motion should be denied.




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                          CERTIFICATE OF SERVICE

      On this day of August 27, 2024, the above document was filed with the
Court’s CM-ECF system which will provide notice to all counsel of record.

/s/Linus L. Baker
Linus L. Baker




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